Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24   Page 1 of 69 PageID:
                                            3017



Mary Basile Logan
Post Office Box 5237
Clinton, New Jersey 08809
Email: Trino@trinops.com


                               UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW JERSEY



MARY BASILE LOGAN, individually and on behalf                |
of those similarly situated, Pro-Se;                          |
                                                              |
                               Plaintiff,                     |
                                                              |
MERRICK GARLAND, in his official capacity                    |
Attorney General, Department of Justice;                      |
                                                              |
LLOYD AUSTIN, III, in his official capacity as the           |
Secretary, Department of Defense;                             |
                                                              |
WILLIAM J. BURNS, in his official capacity as the            |
Director, Central Intelligence Agency;                        |
                                                              |
CHRISTOPHER A. WRAY, in his official capacity                |
as the Director of the Federal Bureau of Investigation;       |
                                                              |
DENIS RICHARD MCDONOUGH, in his official                     |
capacity as Secretary of Veterans Affairs;                    |
                                                              |
ALEJANDRO MAYORKAS, in his official capacity as              |
Secretary, U.S. Department of Homeland Security;              |
                                                              |
MARCIA L. FUDGE, in her former capacity as Secretary |
U.S. Department of Housing and Urban Development;             |
                                                              |
ROBERT CALIFF, in his capacity as Commissioner ,             |
Food and Drug Administration;                                 |
                                                              |
WILLIAM J. CLINTON, in his official capacity as the          |
former President of the United States of America;             |
                                                              |
HILLARY R. CLINTON, in her official capacity as              |
former Secretary of State for the United States of America; |


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Case 3:24-cv-00040-ZNQ-TJB   Document 73    Filed 05/20/24   Page 2 of 69 PageID:
                                   3018



                                                        |
THOMAS KEAN, Sr., in his former capacity as Chairman |
9/11 Commission;                                        |
                                                        |
ROBERT MUELLER, in his former capacity as Director |
of the Federal Bureau of Investigation;                 |
                                                        |
JAMES COMEY, in his former capacity as Director         |
of the Federal Bureau of Investigation;                 |
                                                        |
CHRISTOPHER J. CHRISTIE, in his capacity as the         |
former-Governor of New Jersey;                          |
                                                        |
RICHARD “DICK” CHENEY, in his former capacity           |
as Vice President of the United States;                 |
                                                        |
ELIZABETH “LIZ” CHENEY, in her former capacity          |
as Chair, January 6 Commission;                         |
                                                        |
JOHN KERRY, in his official capacity as U.S. Special    |
Presidential Envoy for Climate;                         |
                                                        |
GEORGE W. BUSH, in his former capacity as               |
President of the United States;                         |
                                                        |
BARACK HUSSEIN OBAMA, in his former capacity as |
President of the United States;                         |
                                                        |
LORETTA LYNCH, in her former capacity as                |
United States Attorney General;                         |
                                                        |
JAMES BAKER, in his former capacity as White House | CIVIL DOCKET: 3:24-CV-00040
Chief of Staff;                                         | ZNQ-TJB
                                                        |
ERIC HOLDER, in his former capacity as United States | ORAL ARGUMENT REQUESTED
Attorney General;                                       |
                                                        |
JOSEPH R. BIDEN, in his official capacity as President, |
his former capacities as Vice President and Senator, of |
these United States;                                    |
                                                        |
JOHN ASHCROFT, in his former official capacity,         |
as United States Attorney General;                      |
                                                        |
JAMIE GORELICK, in her official capacity, Homeland      |
Security Advisory Council member;                       |


                                      2
Case 3:24-cv-00040-ZNQ-TJB          Document 73       Filed 05/20/24   Page 3 of 69 PageID:
                                          3019



                                                           |
NANCY PELOSI, in her official capacity as                  |
Congresswoman (CA);                                        |
                                                           |
GEORGE NORCROSS, in his capacity as Chairman,              |
Cooper University Medical Systems;                         |
                                                           |
PHILIP MURPHY, in his official capacity as Governor        |
of New Jersey, and as former Chair of the National         |
Governors Association (NGA);                               |
                                                           |
TAHESHA WAY, in her former capacity as Secretary           |
of State, as former President of the National Association |
of Secretaries of State, and her current capacity as       |
Lt. Governor, New Jersey;                                  |
                                                           |
JUDITH PERSICHILLI, in her official capacity as then- |
Commissioner of Health for the State of New Jersey;        |
                                                           |
SEJAL HATHI, in her official capacity as Deputy            |
Commissioner for Public Health Services;                   |
                                                           |
MATTHEW PLATKIN, in his official capacity as               |
Attorney General of the State of New Jersey;               |
                                                           |
KATHY HOCHUL, in her official capacity as Governor         |
of New York;                                               |
                                                           |
ANDREW CUOMO, in his former capacity as Governor |
of New York and his capacity as Vice-Chair of the National |
Governors Association;                                     |
                                                           |
LETITIA JAMES, in her capacity as Attorney General of |
the State of New York;                                     |
                                                           |
SUSAN RICE, in her official capacity as United States      |
Domestic Policy Advisor;                                   |
                                                           |
ADAM SCHIFF, in his official capacity as Congressman, |
of the State of California;                                |
                                                           |
CHARLES “CHUCK” SCHUMER, in his official                   |
capacity as Senator for the State of New York;             |
                                                           |
XAVIER BECERRA, in his official capacity as                |
Secretary of Health and Human Services;                    |


                                               3
Case 3:24-cv-00040-ZNQ-TJB         Document 73       Filed 05/20/24   Page 4 of 69 PageID:
                                         3020



                                                         |
JANET YELLEN, in her official as Secretary of            |
the United States Treasury;                              |
                                                         |
ROD ROSENSTEIN, in his former capacity as United         |
States Deputy Attorney General;                          |
                                                         |
HUMA ABEDIN, in her former capacity as vice              |
Chair of Hillary Clinton;                                |
                                                         |
DEBBIE WASSERMAN SCHULTZ, in her current                 |
capacity as U.S. Representative, (FL-25);                |
                                                         |
BILL NELSON, in his official capacity as Administrator   |
of NASA;                                                 |
                                                         |
OCCIDENTAL PETROLEUM;                                    |
                                                         |
UNITED HEALTHCARE;                                       |
                                                         |
DEMOCRATIC NATIONAL COMMITTEE;                           |
                                                         |
REPUBLICAN NATIONAL COMMITTEE;                           |
                                                         |
JAMES PITTINGER, in his official capacity as Mayor       |
of Lebanon Borough, State of New Jersey;                 |
                                                         |
LISA SELLA, in her official capacity as Deputy Clerk,    |
Lebanon Borough, State of New Jersey;                    |
                                                         |
ROBERT JUNGE, in his official capacity as Municipal      |
Co-Chair, Republican Party, Lebanon Borough, State of    |
New Jersey;                                              |
                                                         |
JOHN DOES (1-100)                                        |
                                                         |
JANE DOES (1-100)                                        |
                  Defendants.                            |
________________________________________________

    PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION HEARING DATE,
     PRELIMINARY INJUNCTION, AND TEMPORARY RESTRAINING ORDER




                                                4
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 5 of 69 PageID:
                                            3021



         Plaintiff, Mary Basile Logan, respectfully moves this Court for a preliminary injunction

as set forth below and for the reasons set out in the accompanying Brief in Support of Plaintiff’s

Motion for Preliminary Injunction Hearing Date and Temporary Restraining Order. Fed. R. Civ.

P. 65(a). Because there are only legal questions at issue, Plaintiff respectfully requests that this

Court consolidate the preliminary injunction hearing with the trial on the merits and rule on the

merits in accordance with Fed. R. Civ. P. 65(a)(2).

         WHEREFORE, Plaintiff respectfully request the Court grant their Motion and issue a

preliminary injunction pending a decision on the merits of Plaintiff’s claims in this matter.



Dated:          May 20, 2024

Respectfully submitted,

/s/ Mary B. Logan

Mary B. Logan
Plaintiff, Pro-Se
Post Office Box 5237
Clinton, New Jersey 08809




                                                  5
Case 3:24-cv-00040-ZNQ-TJB       Document 73    Filed 05/20/24   Page 6 of 69 PageID:
                                       3022



Mary Basile Logan
Post Office Box 5237
Clinton, New Jersey 08809
Email: Trino@trinops.com

                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW JERSEY


_______________________________________________

MARY BASILE LOGAN, individually and on behalf   |
of those similarly situated, Pro-Se;            |
                                                |
                           Plaintiff,           |
                                                |
MERRICK GARLAND, in his official capacity       |
Attorney General, Department of Justice; et al. |
                                                | CIVIL DOCKET: 3:24-CV-00040
                           Defendants.          |       ZNQ-TJB
                                                |
________________________________________________ ORAL ARGUMENT REQUESTED



                     OPENING BRIEF IN SUPPORT OF
    PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION HEARING DATE,
     PRELIMINARY INJUNCTION, AND TEMPORARY RESTRAINING ORDER




Mary Basile Logan
Plaintiff, Pro-Se
Post Office Box 5237
Clinton, New Jersey 08809
(908) 200-7294
Email: Trino@trinops.com


Dated: May 20, 2024




                                         6
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 7 of 69 PageID:
                                            3023



                      NATURE AND STAGE OF THE PROCEEDINGS

       1.      On January 4, 2024, Plaintiff filed this lawsuit alleging that Defendants’ collective

actions, moving as co-conspirators to meet their ends, manifest in events abhorrent to the Constitution

and to the inalienable Rights of the Plaintiff each taken under the color of law, depriving her of rights,

privileges, or immunities in violation of 42 U.S.C. § 1983, the First and Fourteenth Amendments to

the Constitution, and the Equal Protections Clause. Plaintiff now moves for a preliminary injunction.

Plaintiff states that notice to the adversarial party and not perfected formal service is needed to assert

jurisdiction to issue an injunction (Whirlpool Corp. v. Shenzhen Sanlida Elec. Tech. Co., Ltd., Case

No. 22-40376 (5th Cir. Aug. 25, 2023) (Barksdale, Southwick, Higginson, JJ.)) Plaintiff restates the

inclusive claims as set forth in the amended complaint and supplemental submissions with Exhibits so

accompanying, ECF 45; 45-1; 45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10; 45-11; 45-12; 45-

13; 45-14; 45-15; 45-16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 56; 46; 46-1; 46-2; 55; 55-

1; 55-2; 55-3; 55-4 and 55-5, in support of the certified statements of harm herein.

                                  SUMMARY OF ARGUMENT

       2.      At the time of this writing the Secretary of State of New Jersey, serving a dual

role as Lieutenant Governor, Defendant TAHESHA WAY, is preparing for the federal election.

Ms. Way will follow directive from federal statute in accordance with the infrastructure designed

under the Sector Specific Agency (“SSA”), as set forth in federal policy by then-Secretary,

Department of Homeland Security (“DHS”), Jeh Johnson. The policy was adopted into the

Department of Justice (“DOJ”), incorporating elections in and among the existing 16-Subsectors

of protected assets. The protections were further emphasized by Defendant, JOSEPH R. BIDEN




                                                  7
Case 3:24-cv-00040-ZNQ-TJB                Document 73          Filed 05/20/24         Page 8 of 69 PageID:
                                                3024



in the Executive Memorandum of July 28, 2021, entitled, “National Security Memorandum on

Improving Cybersecurity for Critical Infrastructure Control Systems.” 1

        3.       Plaintiff states that the 2017 SSA model was built on the scaffolding of the 2015

Cyber Threat Intelligence Integration Center, designed and conceived by Lisa Monaco under the

direction of DNI, James Clapper.

        4.       The codified statute and Executive Memorandum were designed to protect the

Plaintiff’s sovereign vote, unimpeded in the determination expressed, not dissimilar from the

intent of the Patriot Act following the tragic events of September 11, 2001.

        5.       Plaintiff’s states her vote informed by independent thought and evaluation of

facts, otherwise unalienable, endowed by her Creator, cast in the fortification of those freedoms

affirmed among them Life, Liberty, and the Pursuit of Happiness – securing her Rights,

governments are instituted among men, deriving their just powers from the consent of the

governed, by sovereign, sacred vote. Plaintiff files this pleading based on her autonomous

analyses of data; findings set forth herein.

        6.       Preliminary injunctive relief is necessary to ensure that Plaintiff’s fundamental

Right to vote, from which all other Rights enumerated are secure, remains sovereign. Emergent

as it concerns the forthcoming election, sovereign and without impediment or usurpation by

foreign or domestic actors; but with absolute anticipation of such usurpation, a matter of the

highest consideration by the Honorable Court.

        7.       Defendants concede that the Right to vote is fundamental and sovereign, so stated

in the Voting Rights Act of 1965, codified in policy as a protected asset in 2017 by the DHS


1
  Biden, Joseph R. National Security Memorandum on Improving Cybersecurity for Critical Infrastructure Control
Systems. July 28, 2021. Accessed April 27, 2024. https://www.whitehouse.gov/briefing-room/statements-
releases/2021/07/28/national-security-memorandum-on-improving-cybersecurity-for-critical-infrastructure-control-
systems/

                                                        8
Case 3:24-cv-00040-ZNQ-TJB                 Document 73           Filed 05/20/24         Page 9 of 69 PageID:
                                                 3025



Secretary as “so vital to the United States that the incapacity or destruction of such systems and

assets would have a debilitating impact on security, national economic security, national public

health or safety, or any combination of those matters.” 2

        8.       The United States Election Assistance Commission System Security Plan requires

Center for Internet Security (“CIS”) configuration settings for Windows 10 Workstations. On

December 15, 2020 Inspector General Layfield issued the final report for FY2020 U.S. Election

Assistance Commission Compliance with the Requirements of the Federal Information Security

Modernization Act (Assignment No. 1-PA-EAC-02-20) Chairman Hovland of the US EAC

issued. The subject report moved on the issuance of an Authorization to Operate (ATO) for the

Microsoft Azure implementation. Microsoft, (“MS”) a federal contractor, serving as the conduit

software portal accessed by third party vendor/contractors (Hart/ES&S/Dominion); the

vendor/contractor’s equipment interfaces with the MS portal, completing the build-out of

framework for the United States elections, each facet having autonomous, statutory tests and

comprehensive protective guardrails.

                                            FACTUAL BACKGROUND

        9.       Article 1, Section 4, cl. 1 of the U.S. Constitution, known as the Elections Clause,

provides that States have primary responsibility for administering the elections, the federal

government maintains significant authority over elections, including safeguarding the safety and

integrity of congressional elections. Article II, Section 1, cl. 4 informs parallel constitutional

provision addressing presidential elections with Congress determining the “time” of choosing

presidential electors and the day the electors shall cast their votes, with that day the same


2
  U.S. Election Assistance Commission, Starting Point. (UNDATED), authored by EAC following DHS inception
January 6, 2017. Accessed April 24, 2024
https://www.eac.gov/sites/default/files/eac_assets/1/6/starting_point_us_election_systems_as_Critical_Infrastructure
.pdf

                                                         9
Case 3:24-cv-00040-ZNQ-TJB            Document 73         Filed 05/20/24      Page 10 of 69 PageID:
                                            3026



 throughout the United States. The Supreme Court has held that “[t]he importance of [the

 presidential] election and the vital character of its relationship to and effect upon the welfare and

 safety of the whole people cannot be too strongly stated” and that “Congress, undoubtedly,

 possesses that power…to preserve the…institutions of the general government from impairment

 or destruction…” Congress, exercising its authority under this provision, enacted legislation

 establishing an Election Day. The power to appoint electors and how those appointments are

 made, however, belongs to the states under Article II, Section 1, cl. 2.

         10.    Congress does not have general regulatory authority over state and local elections,

 but it may still exercise its power over such entities in several contexts including authority to

 prevent unconstitutional voting discrimination in a state or local election, authority to legislate

 regarding various issues derives, adding to its Article I powers, principally from the Fourteenth

 and Fifteenth Amendments, and relying on the Spending Clause authority under Article 1,

 condition of receipt of federal funds for state or local elections on compliance with federal

 requirements, including those expressed under the DHS Election Infrastructure Subsector

 policies.

         11.    The federal government lacks Constitutional authority to interface directly in

 local, county and tribal elections without being requested, prompted or otherwise authorized to

 gain such entry.

         12.    Plaintiff states that the 2016 Russian election interference claims were conceived

 as part of a broader scheme, undisclosed and, therefore, covert, planned and carried out by the

 Defendants, MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS,

 CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA

 FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS



                                                   10
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24      Page 11 of 69 PageID:
                                           3027



 KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE,

 RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W.

 BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER,

 JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

 NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI,

 MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN

 RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET

 YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL

 NELSON, OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, the DEMOCRATIC

 NATIONAL COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE, JAMES

 PITTINGER, LISA SELLA, and ROBERT JUNGE, herein after referred to as “inclusive

 Defendants”. These nefarious acts were deemed false upon investigative inspection, and each

 subsequent fabrication so too has proven a lie; however, not at any point in time, ever, have the

 inclusive Defendants taken action to remedy their egregious actions, to the contrary, they chose

 to double down, trespassing repeatedly on the unalienable Rights of the Plaintiff.

        13.     Plaintiff states that the Federal Bureau of Investigation (“FBI”) released a Brief

 dated August 30, 2016, which provided in part, that “[Redacted] cases on known or suspected

 Russian and Chinese IO’s posted to the U.S., document declassified by DNI Ratcliffe on 23 July

 2020, signaling outwardly to the inclusive Defendants, the undercurrent scheme a momentum

 forward shift, proving overtly treasonous with the passage of time.

        14.     Plaintiff states that immediately following the November, 2016 election an

 extraordinary volume of allegations concerning foreign election interference became the vitriol

 of the inclusive Defendants, investigations ensued. The investigative determinations portrayed



                                                 11
Case 3:24-cv-00040-ZNQ-TJB               Document 73          Filed 05/20/24        Page 12 of 69 PageID:
                                               3028



 the same schisms as represented outwardly by those elected, at all levels of government; analysis

 of the facts has provided disclosure of the undercurrent scheme that sustained that schism, giving

 it breath, presented herein. The investigative reports are listed below which the Plaintiff

 reviewed, retains same in repository.

                      i. The Federal Bureau of Investigation (“FBI”) and the Department of

                          Justice (“DOJ”) released their findings report in June, 2018.

                      ii. House Intelligence Committee investigation, (“HIC”) Chairman Devin

                          Nunes and Ranking Member, ADAM SCHIFF, a Defendant to this action,

                          House Permanent Select Committee on Intelligence – Russia Investigation

                          (2016 U.S. Election) Reports.

                     iii. Office of the Inspector General (“OIG”) released findings report on June

                          14, 2018.

                     iv. CIA Assessment report released December 10, 2016. Conflicting

                          reporting from media presented to the public, the Washington Post

                          reporting that “Russian operatives covertly interfered in the election

                          campaign in an attempt to ensure the Republican candidate’s victory.” 3 In

                          contrast, the New York Times reported that “intelligence officials had a

                          ‘high confidence’ that Russia was involved in hacking related to the

                          election.”4




 3
  Gayle, Damien (The Guardian). December 10, 2016. “CIA concludes Russia Interfered to help Trump win
 election, say reports. Accessed May 13, 2024. https://www.theguardian.com/us-news/2016/dec/10/cia-concludes-
 russia-interfered-to-help-trump-win-election-report
 4



                                                      12
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24     Page 13 of 69 PageID:
                                           3029



                    v. Office of National Intelligence – Assessment Background: Assessing

                        Russian Activities and Intentions in Recent U.S. Elections – The Analytic

                        Process and Cyber Incident Attribution. Dated: January 6, 2017.

                   vi. House Permanent Select Committee on Intelligence – Report on Russian

                        Active Measures, March 22, 2018.

                   vii. Special Counsel ROBERT S. MUELLER, a Defendant to this action,

                        issued findings report pursuant to 28 C.F.R. § 600.8(c), dated March,

                        2019, Volumes I and II.

                  viii. Select Committee on Intelligence, United States Senate on Russian Active

                        Measures Campaigns and Interference in the 2016 U.S. Election, Vol. 1-V,

                        November 10, 2020.

           15.   Lisa Monaco was appointed by Defendant, BARACK HUSSEIN OBAMA as

 Assistant Attorney General for National Security in 2011, with responsibility of overseeing major

 counterterrorism and espionage cases. According to the record of her tenure, Ms. Monaco was

 principally focused on matters of intelligence, foreign cyber threats, and guiding the Defendant,

 BARACK HUSSEIN OBAMA throughout his unlawfully held tenure. Ms. Monaco served

 throughout the investigations of the Awan Brothers, Enron, AIG, TARP and SIG TARP, among

 others. Plaintiff seeks the Honorable Court’s consent to add Lisa Monaco as a Defendant to this

 action.

           16.   The Trump Administration Department of Justice, obtained subpoenas filed with

 Apple and Microsoft, same held under gag order, which expired in 2021 relating to an

 investigation overseen by AG Sessions and, following his departure, AG Barr. In 2021, the gag




                                                  13
Case 3:24-cv-00040-ZNQ-TJB                Document 73          Filed 05/20/24         Page 14 of 69 PageID:
                                                3030



 orders expired concurrent with the timeline of Ms. Monaco assuming her present role as Deputy

 Attorney General. Ms. Monaco referred the query of law to the Office of Inspector General.

         17.      Learning of the subpoenas for the first time, Defendant CHARLES “CHUCK”

 SCHUMER spoke to the press regarding the subpoenas stating, “This is a gross abuse of power

 and an assault on the separation of powers. This appalling politicization of the Department of

 Justice by Donald Trump and his sycophants must be investigated immediately by both the DOJ

 Inspector General and Congress.”5 Defendant, ADAM SCHIFF stated that referred the matter to

 the OIG was “an important first step…(but) will not obviate the need for other forms of oversight

 and accountability – including public oversight by Congress – and the Department must

 cooperate in that effort as well.”6 The statements of these Defendants, shatter the scales of

 Justice; the Defendants’ holding to audacity, Donald Trump holding to Executive authority of the

 Constitution. And yet, as Donald J. Trump stands trial for yet another fabrication, absent

 jurisprudence whatever but for the abuse of power exercised by the unlawfully seated Executive,

 the Defendants’ his cheerleaders; the Plaintiff observes in absolute disgust, her Rights of

 independent, autonomous candidate choice of absolutely no consequence to the inclusive

 Defendants.

         18.       In assuming her oath, at the direction of her superior, Defendant, MERRICK

 GARLAND, Ms. Monaco was primarily tasked with “surfacing potentially problematic matters

 deserving high level review”7. Ms. Monaco encouraged Congress to pass cybersecurity

 legislation while engaging the press to reinforce her policy position. 8 Plaintiff has read and


 5
   Breuninger, Kevin. DOJ Watchdog Will Probe Reported Trump-era subpoenas of Apple for Democrats’ data.
 June 11, 2021. Accessed February 10, 2022. https://www.cnbc.com/2021/06/11/schiff-calls-for-probe-into-trump-
 doj-seizing-house-democrats-data-.html
 6
   Ibid.
 7
   White Vance, Joyce. “Perspective – Garland inherited a booby-trapped DOJ. Here’s why it won’t be easy to fix.
 Washington Post. ISSN 0190-8286, Accessed October 16, 2021.
 8
   Vicens, A.J. (April 24, 2023). “To combat cybercrime, US law enforcement increasingly prioritizes disruption.

                                                        14
Case 3:24-cv-00040-ZNQ-TJB                Document 73          Filed 05/20/24        Page 15 of 69 PageID:
                                                3031



 analyzed the GAO Reports February, 2024 for the Department of Homeland Security and

 Cybersecurity, respectively. The reports reflect an absolute dereliction of responsibility to the

 American People, despite the vitriol and policy action to advance written statements in the

 respective Departmental areas, the GAO reports state, quite clearly, there was very limited

 actionable movement advanced by Ms. Monaco, derelict in ability to delegate as much her own

 time management. Plaintiff states, the reports are indicative of Ms. Monaco actions and

 commitment to the undercurrent scheme; feeling the weight of the apparatus on the receiving

 end, Plaintiff surmises their time, while consuming, was for not; Freedom will prevail.

         19.      John Carlin, as Acting Deputy Attorney General, in the company of Ms. Monaco

 and Defendant, MERRICK GARLAND, spoke with reporters on February 26, 2021 regarding

 January 6, 2021 stating, “The Jan. 6 attack was ‘not America and it will not happen again…we

 must return to an America where no one fears violence for who they are or what they

 believe…pledge that federal law enforcement was putting together a response plan for all

 extremist threats that included the ‘detection, disruption and deterrence of domestic extremists.” 9

 Plaintiff states Carlin has vacated his position in advance of the frontline to their plan, a coward,

 the God that gifted this dominion will assure her retention, human hands cannot foreclose the

 Law as resolute as those who gave their lives for her retention.

         20.      On September 27, 2016, Rep. Ted Lieu, authored a letter concerning the

 “cyberattacks on our federal government have increased by 1,300 percent in ten years. Yet over

 1,000 GAO recommendations to improve cybersecurity have failed to be implemented by federal

 agencies as of September 16, 2016.



 Accessed May 16, 2024. Cyberscoop.com
 9
   Goudie, Markoff, Tressel and Weidner. Feds Pledge Another DC Domestic Terror Attack ‘will not happen’.
 February 26, 2021. Accessed February 10, 2022 https://abc7chicago.com/us-capitol-threat-insurrection-riot-
 january-6/10373169/

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Case 3:24-cv-00040-ZNQ-TJB            Document 73         Filed 05/20/24      Page 16 of 69 PageID:
                                            3032



        21.     On June 26, 2017, Rep. Ted Lieu, authored a letter to the Honorable John F. Kelly,

 Secretary of Homeland Security, regarding cybersecurity at the Trump owned (private owned)

 properties, inclusive. Rep. Lieu cited specific foreign diplomats and leaders, having no merit of

 a Congressional Representative and well within Executive authority. Rep. Lieu closed his letter

 with “Trump-owned commercial properties have been subject to cyberattacks in the past, and

 one can only assume such attacks have increased since Mr. Trump took office. When asked

 about these breaches, the White House reportedly declined to comment.” Thereafter Rep. Lieu

 posed a list of queries, requesting a reply. Plaintiff states that Rep. Lieu did not and has not

 served as Secretary of Cybersecurity, he did and has, however, worked alongside the Awan

 Brothers in the company of the inclusive Defendants as they breached our National Security.

        22.     Plaintiff draws attention to the investigation Marc Baier (former NSA), Ryan

 Adams, and Daniel Gericke, (both former military and intelligence community personnel) who

 between January, 2016 – November, 2019 worked for DarkMatter, a United Arab Emirates, a

 wholly owned government enterprise. Prior to this employment the subject parties were

 employed by CyberPoint International LLC, (“CyberPoint”), and would become founding

 members of a Raven Team for DarkMatter in a program for Cyber Intelligence-Operations

 (“CIO”). The parties are subject of violations of the Arms Export Control Act (See 3:21-cv-

 01787-IM). Plaintiff reviewed the case documents, germane to her research and analysis of the

 subject pleading. Plaintiff states as a matter of record, this is the second incident of major

 national security breach during the stated time period, 2016 – 2019. Despite the foregoing,

 limited background checks and screenings are completed on Contractors, this runs counter with

 standard protocol; the fact that is recurrent adds insult to injury. There is to measure of




                                                   16
Case 3:24-cv-00040-ZNQ-TJB             Document 73        Filed 05/20/24      Page 17 of 69 PageID:
                                             3033



 acceptance that those in change of our National Security would be so absolutely complacent and

 derelict in their responsibility to our Country.

                   COVID-19 AND THE GLOBAL PUBLIC PRIVATE PARTNERS

        23.     Following the 2016 Presidential Election, an extraordinary scaffolding of non-

 profit entities was amassed who would become woven into the substrate of our Republic as

 circumstance presented, circumstances for which the non-profit were particularly suited, trained

 and staffed in a turnkey, clairvoyant fashion. Plaintiff states that the non-profit and for-profit

 organizations have statistically significant association with the inclusive Defendants.

        24.     The amassed non-profit and for-profit entities coalesced with multinational

 corporations their affiliation, incorporating former BCC International (“BCCI”) “criminal

 enterprise” members, (See ECF 45-1). The statistical parallels between present-day non-profit

 and for-profit entities as analyzed against those associated with BCCI exceed probability or

 chance, facts which Plaintiff examples below. Plaintiff states that the non-profit entities below

 are a sample of the repository of over 1,700 non-profit, 501c3, SEC and corporate filing records.

 Plaintiff states that Microsoft is one such conduit corporation, which is allowing for affiliate

 partners (public private partners) to knowingly trespass on Plaintiff’s sovereign Rights.

                 i. VotingWorks – a 501c3 entity, founded in November, 2018 by Ben Adida and

                    Matt Pasternack. Board Members include John Lilly and Ryan Merkley.

                    VotingWorks is a principle Public Private Partnership (“P3”) entity involved

                    in the Risk Limit Audit, which replaced the former election audit structure in

                    2020, first as a pilot, and thereafter incorporated as a standard election

                    process. First presented to Congress in 2019 through three sources, each




                                                    17
Case 3:24-cv-00040-ZNQ-TJB      Document 73        Filed 05/20/24      Page 18 of 69 PageID:
                                      3034



               having an interface with the primary P3 entity, VotingWorks, including

               Microsoft.

            ii. Ben Adida – Studied at MIT (Cryptography and Information Security),

               presently employed by Microsoft. Specialty in authentication infrastructures,

               electronic voting, reliable and secure transactional storage. Member of

               Creative Commons, the Center for Strategic and International Studies

               Authentication Workgroup.

           iii. John Lilly – General Partner with Greylock Partners, venture capital and the

               former CEO of Mozilla Greylock Partners specializes in AI, cryptocurrency,

               Fintech and Cybersecurity. In 2009, Reid Hoffman joined Greylock Partners

               as an investment partner. In 2020 Mozilla announced it would cut 25% of its

               worldwide staff of nearly 1,000 to reduce costs, despite this, executive pay

               increased 400% with Mitchell Baker received $2.4m in 2018. In December,

               2020, Mozilla closed its Mountain View, Santa Clara, CA property. In 2023,

               Mozilla announced the launch of Mozilla Ventures, a venture capital and

               product incubation facility out of Mozilla for independent start-ups, seed to

               Series A which qualify under the Mozilla Manifesto with a starting fund of

               $35m. Its founding Managing Partner, Mohamed Nanabhay, previously

               served as Head of online Al Jazeera English, serving as an advisor to the

               Director-General, Qatar. Previously served the Advisory Board of the

               Creative Commons and a former member of the World Economic Forums’

               Global Agenda Council on Social Media who presently serves at MIT,

               connecting social innovators led by Sony, the Bill and Melinda Gates



                                            18
Case 3:24-cv-00040-ZNQ-TJB               Document 73          Filed 05/20/24        Page 19 of 69 PageID:
                                               3035



                      Foundation, General Motors, Hermes, etc. Mohamed Nanabhay – Mozilla

                      Ventures launched Lisbon Portugal project (2022) $35m venture to

                      decentralize digital power and build more trustworthy AI. Reid Hoffman

                      serves on the Board of Directors for Microsoft.

                 iv. Risk Limit Audit (“RLA”) – Microsoft launched the Risk Limit Audit as a

                      pilot program in 2019, a post-election tabulation audit for elections designed

                      to check the accuracy of the reported election outcomes drawing from defined

                      samples of the collective, broader data. The program has been incorporated

                      into the assessment of important election security, included in the training

                      protocol to prevent, detect, and recover from cyber-attacks at the state and

                      local level.10 The program is a collaboration between the Brennan Center for

                      Justice, a non-profit led by Michael A. Waldman, formerly serving as

                      Defendant, WILLIAM J. CLINTON’s speechwriter; the Common Cause

                      which was formerly chaired by Robert Reich, the former Secretary of Labor,

                      appointed by Defendant, WILLIAM J. CLINTON.; the National Election

                      Defense Coalition (“NEDC”), former Board includes Ben Adida (see i, above

                      – VotingWorks), Ernst and Young, Google, among others. The RLA was

                      introduced in the State of New Jersey for the 2020 election as a pilot. Plaintiff

                      refers to ECF Doc. 46, the RLA does not measure against ballot custody end-

                      to-end informing of the sovereign voters’ cast vote, ballot stuffing or the

                      myriad of interference with sovereign election that Plaintiff has witnessed by

                      first-hand account.


 10
   Microsoft. Making Every Vote Count: A Practical Guide to Risk-Limiting Audits. January 31, 2019 (Training
 Presentation). Accessed January 10, 2020.

                                                      19
Case 3:24-cv-00040-ZNQ-TJB               Document 73         Filed 05/20/24        Page 20 of 69 PageID:
                                               3036



         25.     Plaintiff states that the foregoing facts echo the footprint and mapping of BCCI,

 inclusive of the accounting firms. The inclusive firms hold resolute to political ideology,

 dismissing an unbiased, non-partisan posture of the formulation, outcome testing, and

 cybersecurity for the United States elections end-to-end process.

         26.     In 2018, Microsoft launched the Defending Democracy Program. The program

 was designed and promoted as a mechanism to address security challenges that were “at the

 forefront of the public’s consciousness since 2016,”11 resulting from the bedlam following the

 2016 election while in advance of the mid-terms and forthcoming presidential election.

         27.     In April, 2020, Microsoft launched the Threat Intelligence Center, (“MSTIC”) in

 advance of the presidential election, promoted as having a principal focus on cybersecurity with

 adaptive voting with key interface between federal, state and local stakeholders. “In states where

 vote-by-mail is already the norm, such as Oregon and Washington, the necessary infrastructure,

 budgets and even culture already exist. It would be difficult for other states to replicate that in a

 handful of months, especially under current remote working conditions. There are tangible steps

 that states can take, however, to expand existing absentee voting processes so as to provide a safe

 method of voting for all in November.” 12 Plaintiff states that the program ran counter to its

 intent, a trojan horse presented on behalf of DHJ and the DOJ who would otherwise not have

 access to local, state, county and tribal persons running the elections in conformity to the

 Constitution.

                                 2020 ELECTION AND CYBERSECURITY




 11
    Microsoft. (2018). Defending Democracy Program. The 2020 U.S. Elections: Readying for the Challenges.
 Accessed April 10, 2024 https://blogs.microsoft.com/wp-
 content/uploads/prod/sites/5/2020/04/MSFT_ES_Whitepaper_FINAL.pdf
 12
    Ibid.

                                                      20
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 21 of 69 PageID:
                                            3037



         28.     Feigning retention of the lawful framework of the Constitution, DHS has

 developed protocols for election security, attached as EXHIBIT 1. The protocol defines state and

 local officials’ roles and responsibilities within the election with collaboratives and interface with

 DHS, by request. The protocol includes the newly formed Government Coordinating Council

 (Exhibit, p.3), and the Sector Coordinating Council (id.), each interfacing with CISA while

 fostering membership with MS-ISAC, a Microsoft support platform for governmental bodies,

 local, county, and state dedicated to internet security; a Constitutional usurpation to meet

 treasonous aims, aiding and abetting foreign nation-states and unknown parties into the sacred

 process of the Plaintiff’s vote.

         29.     In 2020, MS-ISAC, a federally funded collaborative, ($38m in 2024). The

 collaborative project began in 2018, with limited participation, in 2020 had a member roster of

 10,000 across the United States; today the member body has extended to 17,000 state, local,

 tribal and territorial governmental organizations, a distinct, coordinated work-around of the

 Constitution as well the statutes that buttress to fortify the scribed words. These documents,

 carry with them a weight and certain depth, not requiring of interpretation as confine of action

 within; Plaintiff states by the actions of DHS and their contractor, paid by Plaintiff’s taxes, they

 are holding hostage the Constitution as well the Plaintiff’s sovereign voice expressed in her vote;

 wholly unacceptable by all measure of law.

         30.     In November, 2021, the New York Times reported that the FBI contracted with

 Riva Networks, which in turn permitted access of an NSO tool as a component of an

 investigation, Defendant, CHRISTOPHER WRAY terminated the contract with the contractor in

 April, 2021, as the discovery was made. On August 1, 2023, the FBI reported, “[it] has not




                                                  21
Case 3:24-cv-00040-ZNQ-TJB               Document 73          Filed 05/20/24        Page 22 of 69 PageID:
                                               3038



 employed foreign commercial spyware in these or any other operational endeavor…this

 geolocation tool did not provide the FBI access to an actual device, phone or computer.” 13

         31.      On August 1, 2023, the FBI reported cyberhacking had occurred within the FBI

 alleged to have originated from software installed on an iphone Apple product. The hacking tool

 maker was produced by NSO Group. In April, 2023, the New York Times reported that a

 contractor had bought and used the NSO software, known as Pegasus, developed by Israel which

 allowed covert and remote installation on mobile phones running iOS and Android, using a zero-

 click exploit. The software was first reported in August, 2016, by Ahmed Monsoor, a human

 rights worker with Amnesty International.

         32.      Plaintiff analyzed the subject investigation, the following findings of significance

 resulted.

                               i. The date of first mention (August, 2016) coincides directly with

                                   the Awan Brothers having been given carte blanche access to the

                                   Congressional internet accessed platforms, unimpeded by Capitol

                                   Policy or internet security by the knowing hand of the inclusive

                                   Defendants, same a matter of historic record, investigative

                                   compromise by knowing hands, including that of Defendant,

                                   DEBBIE WASSERMAN SCHULTZ, who retained Imran Awan,

                                   until April, 2017, defying Capitol Police orders.

                              ii. Plaintiff audited for companies with the name RIVA, via open-

                                   source, findings as below:



 13
   Owen, Malcolm. Embarrassingly, a FBI Investigation Discovered that the FBI was Using Blacklisted iPhone
 Hack Tools. August 1, 2023. Accessed May 5, 2024 https://appleinsider.com/articles/23/08/01/embarrassingly-a-
 fbi-investigation-discovered-that-the-fbi-was-using-blacklisted-iphone-hack-tools

                                                       22
Case 3:24-cv-00040-ZNQ-TJB   Document 73    Filed 05/20/24       Page 23 of 69 PageID:
                                   3039



                                a. RIVA FZC, 18 locations; Virginia (Free Trade Zone,

                                   Ras Al Khaimah – UAE); IA; KY; MO; NH; VA

                                   (Free Trade Zone – Ras Al Khaimah – UAE), VA

                                   (Foreign – 2nd location); VT; MA; NV, NM; TX;

                                   WV (Address provided: Ras Al Khaimah – UAE) –

                                   all foreign registry. CT (Domestic registry). LA ;

                                   AK (undisclosed). Inclusive registered with Vishal

                                   Manjlani as named Director.

                                b. RIVA FZC, principal and mailing address as: P.O.

                                   Box 16113, Ras Al Khaimah, UAE OC.

                                c. RIVA FZC, IA – Brijesh Joshi, President. Mailing

                                   address: Business Center 4, Business Park, Rak

                                   Free Trade Zone, Ras Al Khaimah 00 AE.

                                d. RIVA GAS INC. – Mailing address: 170 Veterans

                                   Memorial Parkway, Commack, NY 11725. Ali

                                   Shaukat, CEO, Commack, NY 11725.

                                e. International Telecommunication Filing – open

                                   source. Applicant: Riva FZC, F/19, Business

                                   Centre 1, RAK Free Trade Zone, Ras Al Khaimah,

                                   UAE, Mr. Brejesh H. Joshi. Secondary company:

                                   RIVA Technologies, Inc., registered to British

                                   Virgin Islands.




                                      23
Case 3:24-cv-00040-ZNQ-TJB   Document 73    Filed 05/20/24     Page 24 of 69 PageID:
                                   3040



                                f. Ali Shaukat search – open source. Registered FL:

                                   Azan & Ali Petroleum, Inc.; Ali Shaukat, President;

                                   Shuja Uddin, VP. 18700 N.W. 2nd Avenue, Miami,

                                   FL 33169.

                                g. Shuja Uddin search – open source. 8 Companies

                                   including Azan & Ali Petroleum, Inc.;

                                   Compassionate Children’s Services, LLC (IL); Lilu

                                   Corp (2-FL Domestic registry); Pasha Trading,

                                   LLC. – FL; SMC Virginia, Inc. – VA; Tishna Films,

                                   Inc. – Texas (2-Domestic registry) Wren Gray

                                   Foster, President. Shuja Uddin Sheikh (Meta);

                                   Quran Academy; has wikipage which notes

                                   extensive global travel lecturing with program

                                   approved by the Federal Ministry of Education,

                                   Government of Pakistan.

                                h. Orion Petroleum (FL undisclosed if Foreign or

                                   Domestic); Boorak and Azan Florida, Inc. registered

                                   owners, 3584 SW Armellini, Palm City, FL 34990;

                                   Manjur R. Chowdhury (AMBR) Deshi Farm LLC.

                                   1018 Aspri Way, Riviera Beach FL 33418; Liberty

                                   Lotus Ranch LLC. 10335 Highway 710,

                                   Okeechobee FL 34974. Common contacts, all

                                   three: Manjur R. Chowdrey, Mgr., Mohammed N.



                                      24
Case 3:24-cv-00040-ZNQ-TJB            Document 73         Filed 05/20/24       Page 25 of 69 PageID:
                                            3041



                                                Haque, Mgr., Sonia J. Khan, Mgr.. – all different

                                                addresses.

                                             i. Sonia Khan – 50 registrations, suggesting some may

                                                not belong to the same party above or she is a

                                                registering agent or Title registrant, this theory is

                                                dismissed when there is a registering agent and her

                                                name appears as contact).

                                             j. From the foregoing, Plaintiff reasserts the claims of

                                                harm herein as well the inclusive pleading record as

                                                set forth above.

        33.     Plaintiff states that Landmark OpenWorks R5000 software is directly associated

 with Halliburton’s drilling and evaluation division. Business record for Landmark, registered

 domestic corporation on December 28, 1999, dissolved. David B. Heron, Director of 7 Sprint

 Cove Road, Nashau, NH 03062. Plaintiff states that the United States Federal government was

 contracting with a company who had been dissolved, not viable to process payment or be insured

 in carrying out the contracted services.

        34.     Plaintiff states as to the foregoing findings, either one of two things are true;

 either the FBI knowingly fudged the investigation, never having compiled a rudimentary

 background check in advance of awarding the contract, or the Plaintiff’s claims of covert traverse

 by internal governmental bodies, inclusive of the FBI, knowingly allowing foreign agents to

 partner through bid or application to consummation is correct; there is no other explanation that

 would suffice to extinguish the findings.




                                                   25
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24       Page 26 of 69 PageID:
                                           3042



        35.     In July, 2023, Microsoft announced the formation of a new Election Technology

 Initiative (ETI), of which Microsoft ElectionGuard will be its first project. ElectionGuard was

 developed by Josh Belaloh, a Microsoft Research cryptographer, trained at MIT and the

 developer of the Risk Limit Audit. Plaintiff refers the Honorable Court to the history in the

 amended pleading (See ECF Doc. 45).

        36.     Plaintiff states as a matter of historic donor and collegiate record, Defendant,

 WILLIAM J. CLINTON and Jeffrey Epstein a long-standing close association with MIT. Jeffrey

 Epstein would source equity partners to finance emerging projects, in many cases acting as a

 conduit to the franchise as a middleman for which he was compensated, this is a rinse/repeat,

 textbook BCCI model.

 ECONOMIC WARFARE

                            i. The Firmament Group (“Firmament”) is a leading provider of

                               tailored solutions to small and medium sized enterprises (SME)

                               with a focus in cybersecurity; healthcare, software, health and

                               wellness, food and agriculture sectors. Below is a sample of

                               Plaintiff’s findings. Each of the inclusive private equity partners

                               evidenced two outcomes; 1)change the dynamic of private business

                               with the introduction of international market exposure through

                               2)financial partners with opaque monetary structure. In many

                               cases, the primary business retains their original name and existing

                               reputation while extending themselves financially through fiscal

                               partners beholden, layering international dark money partners.




                                                 26
Case 3:24-cv-00040-ZNQ-TJB          Document 73       Filed 05/20/24     Page 27 of 69 PageID:
                                          3043



                          ii. CyberPoint International, which was subject of the cyber

                              investigation of Marc Baier, Ryan Adams, and Daniel Gericke

                              (See: https://casetext.com/case/alhathloul-v-darkmatter-grp-1).

                              CyberPoint International was formed in 2009; Karl Gumtow and

                              Vicki Gumtow who share business affiliation with Customer Value

                              Partners (“CVP”) which included the Gumtows, as above, and

                              Anirudh Kulkarni, they share affiliation with Dov Levy and Elma

                              Levy who own Dovel Technologies.

                          iii. Anirudh Kulkarni is the CEO of CVP (Customer Value Partners)

                              was awarded a contract with NIH Mission Alignment, Blanket

                              Purchase Agreement, contract to support scientific research

                              missions across NIH with IT programs and technical support,

                              cybersecurity and risk management.

                          iv. In 2021, the Firmament Group announced an investment in

                              CyberPoint International LLC., the amount of the investment was

                              undisclosed.

        37.    Plaintiff analyzed CyberPoint, having no registration as CyberPoint International,

 there are three registrations for CyberPoint, two as “Inc.” and one as “LLC” (see EXHIBIT 2).

                           i. Plaintiff’s analysis moved from CyberPoint records in the United

                              States to CyberGlobe (India) Private Limited. CyberGlobe

                              provides microloans to businesses and enterprises. CyberGlobe is

                              owned by Mohammed Yunus Kazi, Vandana Dungardas Saral, and

                              Syed Kaleemullah. Together, they own Click Cricket Limited,



                                               27
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24     Page 28 of 69 PageID:
                                           3044



                               EBMS Solutions Private Limited, Click Tickets.com Private

                               Limited.

                           ii. CyberTemps, Inc. – Domestic Corp., 1257 Raleigh Road,

                               Mamaroneck, NY 10543, registered to Edward O’Reilly, CEO.

                               Edward O’Reilly registered to the Citadel, Senior Managing

                               Director and Global Head of Client and Partner Group. Mr.

                               O’Reilly began his career at the O’Connor Partnership, Chicago.

                               UBS, Swiss Bank Corporation. Member: The Economic Club

                               New York; The Aspen Institute; The Development Board for the

                               Brunswick School in Greenwich, CT; Chairman, North American

                               Standards Board of Alternative Investments.

                           iii. Muhammad Yunus is presently under investigation by the High

                               Court, case filed in the Rangpur Labour Court with six (6)

                               Defendants for money laundering and fraud. Dr. Yunus is a Nobel

                               laureate and runs an organization named Grameen; Grameen

                               American (501c3); Grameen PrimaCare; Yunus Social Business;

                               Grameen Promotoras (GP); donor to Defendant, HILLARY R.

                               CLINTON; Karen Pritzker serves as the President, Grameen

                               America who is the cousin of Penny Pritzker, serving on the Board

                               of Microsoft.

        38.     Plaintiff cites the direct involvement of Karen Pritzker to the primary sourced

 focus; the following are additional findings:




                                                 28
Case 3:24-cv-00040-ZNQ-TJB    Document 73       Filed 05/20/24      Page 29 of 69 PageID:
                                    3045



                     i. Grameen America provides micro-loans on a need defined basis.

                        Locations in the United States: Jackson Heights, Queens;

                        Brooklyn; Bronx; Manhattan; Nebraska; Indianapolis; Charlotte;

                        San Francisco; Los Angeles; San Jose; Austin; Union City (NJ);

                        Boston; Miami; Houston; Texas; Atlanta; Memphis; Trenton (NJ),

                        and Connecticut.

                     ii. Key partners: American Express; Apax Foundation; Apple; Bank

                        of America; Bank of the West; BCG; Betty Buzz; Capital One;

                        Citi; East West Bank; Etsy; Fondation CHANEL; Goldman Sachs

                        (One Million Black Women); Google.org; JP Morgan Chase; Kekst

                        CNC; Center for Inclusive Growth; Medtronic Foundation;

                        UnionBank; PayPal; Prudential; Regions Bank; Synchrony

                        Financial; TD Bank; Truist Foundation*, USBank; Wells Fargo*,

                        Whole Planet.

                    iii. Supporters: Ameriprise Financial; BBCA Foundation; Centerview

                        Partners; CityNational Bank; DoorDash; HSBC; Mia Becar;

                        Mizuho Americas; Morgan Stanley; Tableau Foundation; and

                        Zumba Fitness LLC.

                    iv. Karen Pritzker, Director, Grameen America. Sibling: ret. Lt.

                        Colonel, Ill. State National Guard and Founder, Pritzker Military

                        Library; Linda Prizker, an American Iama of the Tibetan Buddhist

                        tradition. Marmon Group ties with brothers, Jay and Donald

                        Pritzker – built 60 business enterprises, including Hyatt Hotel



                                           29
Case 3:24-cv-00040-ZNQ-TJB    Document 73        Filed 05/20/24      Page 30 of 69 PageID:
                                    3046



                        chain (1957), owned Braniff Airlines (1983-1988). Sold off

                        smokeless tobacco company to Reynolds American, Inc. (2007);

                        sold Marmon Group to Warren Buffet’s Berkshire Hathaway

                        (2010); sold majority stake in Transunion (undisclosed amount) to

                        Madison Dearborn Partners. Pritzker manages a diverse asset base

                        of emerging biotechnology, medical device companies, consumer

                        technology products, and real estate while operating

                        LaunchCapital, LLC, a venture fund. My Hero Project (501c3 –

                        1995).

                     v. The Seedlings Foundation (501c3 – 2002). Provides grants,

                        catalyzing advancements in medical research, social services, job

                        retraining for adults; affordable housing; online news sites.

                        Philanthropic pursuits/donor: Teach for America; Michael J. Fox

                        Foundation.

                    vi. Teach for America association has direct relationship with current

                        President of Microsoft where Ms. Pritzker’s cousin serves as a

                        member of Board of Directors, a closed circle, entwined.

                    vii. Grameen Foundation (Washington, DC) partners around the world

                        with a mission to enable the poor, especially women, to end

                        poverty and hunger. It uses digital technology and local partner

                        networks to create solutions that span financial, agricultural and

                        health services. Funded by private donors and with the lion’s share

                        provided by USAID, funding the microloans. Grameen was



                                          30
Case 3:24-cv-00040-ZNQ-TJB         Document 73        Filed 05/20/24       Page 31 of 69 PageID:
                                         3047



                            subject of an investigation by Senator Charles Grassley – Plaintiff

                            affirms his claims and will seek discovery. Plaintiff states, the

                            foregoing loans impose on the Emoluments Clause, Grameen a

                            donor to the Clinton Foundation, as Secretary of State, she

                            leveraged her capacity in her interest, as varied as they are, the law

                            is absolute and Justice must be served accordingly.

                      viii. Plaintiff states that Grameen has every marker of a global human

                            trafficking enterprise, advantaging themselves over the human

                            interest of their “clients,” in point of fact, he is presently under

                            investigation for money laundering, a sibling to these other crimes

                            and atrocities.

                       ix. Plaintiff’s analysis provides historical ties to British Raj.

                        x. Yunus Social Business (501c3) and investment arm Yunus Funds

                            with ties to Grameen Danone Foods.

                       xi. Uganda – bike rental and affordable, purified water.

                       xii. Brazil

                      xiii. Colombia

                      xiv. India

                       xv. Albania, Tunisia and Haiti – withdrew at a time of exceptional

                            crisis which runs counterintuitive with a service organization.

      B. McAfee came to the attention of the Plaintiff through the Crowdstrike analysis as

         regards the DNC manufactured election interference investigations; the DNC

         recommended Crowdstrike be retained for what is now evidenced to have been



                                               31
Case 3:24-cv-00040-ZNQ-TJB        Document 73         Filed 05/20/24      Page 32 of 69 PageID:
                                        3048



         manufactured claims of cyberbreaches. The fact that the breach was untrue, a

         fabrication, drew Plaintiff’s attention back to the National Association of Secretaries

         of State (“NASS”) 2020 keynote presentation of Clint Watts (See ECF Doc. 45-22), in

         particular, the artful presentation on counterterrorism in relation to cybersecurity.

         Plaintiff applied the Watts lens in revisiting the findings of Crowdstrike who first

         “identified” the malware, “FancyBear” aka APT28 or Sofacy, as the GRC (Russian

         military). Plaintiff analyzed the principal owner of Crowdstrike, Dmitri Alperovitch,

         who formerly worked at McAfee prior to joining Crowdstrike.

                 i. Intel purchased McAfee in 2011 (2010), becoming part of the Intel

                    Security division, Advent International Group, Permira Advisers, and

                    Crosspoint Capital Partners acted as the conduit investor group, a

                    middleman.

                ii. In 2017, Intel Security entered into a strategic partnership with TPG

                    Capital and converted Intel Security into a joint venture between both

                    companies, called McAfee.

                iii. John McAfee, a former NASA programmer and mathematician, founder of

                    McAfee Corporation (1987), the antivirus software designed with a

                    Windows-focus. The programming was built on searching for and

                    removing self-replicating malicious software.

                iv. Thoma Braco, a private equity firm, took a minority stake in the new

                    company and Intel retained 49% holding.

                v. In 2020, and in 2022, an investor group let by Advent International took it

                    private again. Through these partnerships, the investor relationship



                                               32
Case 3:24-cv-00040-ZNQ-TJB             Document 73        Filed 05/20/24      Page 33 of 69 PageID:
                                             3049



                        created an international partnership with the Canadian Pension Plan, GIC

                        Private Limited and the Abu Dhabi Investment Authority.

                    vi. Advent is a buy-out company, rated one of the largest Private Equity

                        International firms in the world, commencing operation from Poland

                        (1995), expanding to Great Britain (2002), Bulgaria (2004), and lululemon

                        athletica, a relationship affirmed with Advent and Highland Capital

                        Partnership, retaining partial equity and selling partial equity to

                        Advent/Highland Capital Partners, concealing the true originator of the

                        entity.

                   vii. McAfee presently serves as cybersecurity contractor for the Department of

                        Veterans Affairs, among other governmental entities in the United States.

                        McAfee is not a domestic corporation, fiscal holding will verify, opaque

                        with financial partners including the United Arab Emirates (“UAE”).

        39.     Crowdstrike, is a foreign enterprise. Crowdstrike, not unlike the Awan Brothers,

 was given open access to NATSEC matters, Congressional records and the like based on alleged

 claims of cyberhacking as provided in Plaintiff’s amended complaint (See ECF 45). The

 investigations, while appreciative and vast in expression of political posturing, accomplished

 little in addressing Plaintiff’s harm, as disclosed herein.

        40.     Plaintiff states that our Nation’s Executive has seen fit to consent to contracts with

 opaque foreign entities, the truth hidden behind a crooked smile while our Nation’s military

 serves in various corners of the globe due to his failure to maintain the peaceful posture of

 diplomacy which he inherited from his predecessor. These consummated relationships with

 private equity, entities used as investment vehicles, pump, and dumps by a select few with



                                                   33
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24     Page 34 of 69 PageID:
                                            3050



 insider knowledge in Washington, D.C., House and Senate, among others, apart from public

 disclosure. All the while our finest assets, those wearing helmets and boots standing in our stead

 and interest are left vulnerable and so too is our Nation. The foregoing is a NATSEC risk of

 highest consideration to this Honorable Court.

        41.     Plaintiff draws attention to the tunnels located in the Rafah, an area which he

 chose to protect over our ally, Israel; these discoveries disclose the truth concerning Defendant,

 JOSEPH R. BIDEN’s foreign policy posture which echo in relation to the Microsoft Wisconsin

 development project, equally germane to the content presented.

        42.     Combining the foregoing with the clear facts presented under the commercial

 backed mortgage securities (“CMBS”) claims of harm in the amended complaint (See ECF 46),

 there exists a clear and present danger of our economy in peril. The usurpation of Executive

 authority in retaining closure of the economy following the spikes of COVID-19 are haunting the

 exceptionalism of the American economy today; the covert planning and determination of the

 Governors, inclusive of the Defendants herein, ANDREW CUOMO, PHILIP MURPHY and

 KATHY HOCHUL who in their company, with co-Defendants, LETITIA JAMES, MATTHEW

 PLATKIN, JUDITH PERSICHILLI, TAHESHA WAY, not only killed our Veterans in nursing

 homes, but as time has disclosed, their collective malevolence was manifest in a broader plan.

 Plaintiff provided as EXHIBIT 3, Abu Dhabi purchase of lands in New York City as well Texas,

 a knowing hand moving under the surface of our economy under the watchful eye of the

 collusive parties of inclusive Defendants, traitors in our midst.

         THE 2024 PRESIDENTIAL ELECTION, THE THRESHOLD OF INSOLVENCY




                                                  34
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24       Page 35 of 69 PageID:
                                           3051



        43.    Plaintiff analyzed the election hardware and technology which runs through the

 Microsoft Azure platform for the United States elections, as pictured below, taken from the DHS

 supplement on election security.




        44.    HART INTERCIVIC:

                    i. Hart InterCivic – an Austin-based company with more than 100-years of

                       election experience.

                   ii. In 2018, Hart InterCivic promoted Verity and its associated platform

                       services including the Verity Touch Writer, an ADA compliant paper ballot

                       marking device, the Verity Scan which allows voters to feed their marked

                       ballots directly the tabulator and verify their cast vote and Verity Print, an

                       on-demand ballot printing solution.



                                                 35
Case 3:24-cv-00040-ZNQ-TJB      Document 73        Filed 05/20/24       Page 36 of 69 PageID:
                                      3052



              iii. “End-to-end verifiability also enables independent election security

                  experts to build verifier programs that can independently confirm the

                  accuracy of the overall vote count for elections that incorporate

                  ElectionGuard software…the combination of Hart voting machines and

                  ElectionGuard technology delivering end-to-end verifiability provides

                  election officials the ability to offer more transparency to the process of

                  vote tabulation. ElectionGuard is open-source software created by

                  Microsoft, free of charge, as part of the company’s Defending Democracy

                  Program.

              iv. Hart InterCivic, Inc. has its domestic registration at 15500 Wells Port

                  Drive, Austin, Texas, registered through Cogency Global, Inc. on June 13,

                  1986 with Holly Osborn as CFO and Amp; Treasurer and Julie Mathis as

                  CEO, Pres. and Amp; Secretary with a Post Office Box 80649, Austin,

                  Texas. The secondary company, Hart InterCivic, Inc. registered in

                  Michigan, Foreign, registered by Cogency Global, Inc. on June 12, 2017,

                  mailing address 15500 Wells Port Drive, Austin, Texas; a foreign

                  enterprise. The oldest registration of Hart InterCivic appearing among the

                  States is Austin, Texas as a domestic entity, other active registrant states:

                  Michigan, Minnesota, Washington, Oklahoma, South Carolina,

                  Pennsylvania, Ohio, North Dakota, New York, Oregon, Kansas, Maryland,

                  Idaho, Wyoming and Indiana are all foreign entity filings. Plaintiff

                  attaches EXHIBIT 4, the HART INTERCIVIC business registration record

                  which provides the inclusive States of operation.



                                            36
Case 3:24-cv-00040-ZNQ-TJB         Document 73      Filed 05/20/24      Page 37 of 69 PageID:
                                         3053



      45.   ES&S VOTER REGISTRATION, LLC.

               v. E S & S Voter Registration LLC, registered on May 1, 2003 by the

                   National Registered Agents, Inc., 4400 Easton Commons Way, Ste. 125,

                   Columbus, Ohio. Company contacts include Thomas F. O’Brien,

                   registered as a foreign enterprise. Of the registrant states including

                   Alabama, Nevada (revoked November 1, 2023), Idaho, Nebraska, Ohio,

                   Tennessee, Texas; all foreign registrations. Plaintiff attaches EXHIBIT 5,

                   the ES&S business registration record which provides the inclusive States

                   of operation.

      46.   DOMINION VOTING SYSTEMS, INC.

              vi. Dominion Voting Systems, Inc. registered through the National Corporate

                   Research, Ltd. with a principal address of 1201 18 th Street, Denver,

                   Colorado and a mailing address of 122 East 42 nd Street, 18th Floor, New

                   York New York. John Poulos serving as the Chief Executive Officer of

                   the foreign New York registered corporation. Of the registrant States

                   including Missouri, Louisiana (undisclosed), Pennsylvania, Virginia, New

                   Jersey, Nevada, Washington, Oregon, Utah, Michigan, Tennessee, Texas,

                   New Mexico, Mississippi (undisclosed), Oklahoma, Ohio, Colorado

                   (undisclosed), New York (primary), Puerto Rico, all are foreign

                   enterprises.

              vii. In analyzing the mailing address of 1201 18th Street, Suite 210, Denver,

                   Colorado, Plaintiff located People’s Wireless, Inc., the disclosure mirrors

                   other entities within the repository, closely associated with undesirable and



                                             37
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24      Page 38 of 69 PageID:
                                            3054



                        unethical business practices, specifically trafficking. Further information

                        will be sought in discovery. Plaintiff attaches EXHIBIT 6, the Dominion

                        Voting Systems business registration record which provides the inclusive

                        States of operation.

          47.   RUNBECK ELECTION SERVICES. Runbeck provides the technology to

 streamline the process and identify ballot envelopes, increasing efficiency and security of

 elections. In 2022, Runbeck introduced the Agilis Falcon, capable of processing up to 4,500

 mail ballots/hr., scans mail-in ballot envelopes to detect thin/thickness to verify content

 correctness, scan and extracts signature images from the ballot envelope for digital comparison

 and verification by election officials, eliminating the movement of ballots, human touchpoints,

 so all non-tabulated ballots remain in a secure location during sorting and signature verification,

 configurable to county specifications with full reporting and audit capabilities. The pilot was

 launched in Lehigh, Pennsylvania (2022). Plaintiff analyzed the companies and manufacturers

 associated with the election equipment, following strict parameters and open-source records, as

 below.

                            i. Runbeck Election Services. Owned by Kevin Runbeck, Arizona.

                                Patent holder: Application: 20190311030; U.S. Patent application:

                                April 5, 2019; received October 10, 2019. Ballot Duplication

                                System and Methods Thereof; Application: 11450167; U.S. Patent

                                Application: September 20, 2022; received April 20, 2021;

                                Computer-implemented system for image processing of documents

                                associated with elections and methods thereof. Application:

                                11004291; U.S. Patent Application: April 5, 2019; received May



                                                  38
Case 3:24-cv-00040-ZNQ-TJB    Document 73        Filed 05/20/24      Page 39 of 69 PageID:
                                    3055



                        11, 2021; Method of Operating an Election Ballot Printing System.

                        Application: 20110122444; February 4, 2011; received May 26,

                        2011; Method of Operating An Election Ballot Printing System.

                        Application: 20110125557; February 4, 2011; received May 26,

                        2011; Acceptance Tray for an Election Ballot Printing Systems.

                        Application 20080237342; March 25, 2008; received October 2,

                        2008; Method of Operating an Election Ballot Printing System.

                        Application 20080239331; March 25, 2008; Received October 2,

                        2008; Feed Tray Extension for an Election Ballot Printing System.

                        Application: March 25, 2008; Received October 2, 2008. Kevin

                        Runbeck donor record reflects a history of “ActBlue” and “Stop

                        Republicans” donations, history dates back to 2020 – 2022.

                     ii. Analyzed Agilis Systems, LLC. with 6-business; CA (pending

                        termination); DE (unknown status); IL (active/unknown if

                        domestic/foreign); SC (active/foreign); MO (withdrawn/foreign).

                    iii. Agilis Systems, LLC – registered in DE, filing in IL, filed

                        February 5, 2015. Outsourced registrant (National Corp.

                        Research). Business Mailing Address: 16253 Swingley Ridge

                        Road, #210, Chesterfield, MO 63017-1799. Officers: Gilead

                        Group, LLC at 12444 Powercourt Drive, Ste. 375, St. Louis, MO

                        63131; Kent Kalkwarf, Member at 12444 Powercourt Drive, Ste.

                        375, St. Louis, MO 63131. Completed open-source background

                        verification.



                                          39
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24      Page 40 of 69 PageID:
                                            3056



                           iv. Kent Kalkwarf – 4th former executive of Charter Communications,

                                controlled by Microsoft, co-founder Paul Allen to admit deceptive

                                practice and fraud. Charter overstated revenue and cash flow by

                                $17m for 2000. Kalkwarf also founded the Gilead Group, Gilead

                                Fleet, Customer Choice, C4 Connections, and Realtime Results;

                                serving on the Board of Directors of the inclusive companies. Was

                                with Arthur Anderson & Co. 1961 assisted with financial build out

                                for Telcom Communications. Formed Cencom Cable Associated

                                in 1987, serving as CEO. Sold Cencom to Hallmark in 1991.

                                Formed Charter Communications in 1993 with Jerry Kent. Later

                                formed Cequel III and AAT Communications – cell tower

                                company; sold (2006). Cequel III managed Suddenlink

                                Communications, cable services; sold to Altice Group (2015) for

                                $9.1 Billion.

                            v. Charter Communication partner was Paul Allen who co-founded

                                Microsoft.

        48.    Plaintiff states that the ballot sorting Runbeck and software is Agilis Falcon, below

 is the analysis of Agilis. Plaintiff attached full analysis. The findings confirm that the software

 run on the Runbeck system is foreign owned with extremely questionable chain of custody in

 ownership.

                            i. Multiple Agilis entities with varied degrees of name alternations.

                                Agilis Measurement Systems, Inc.; Agilis Commerce (Jay Bhatia –

                                BASF and Shell association with Apollo); Agilis Management.



                                                  40
Case 3:24-cv-00040-ZNQ-TJB             Document 73        Filed 05/20/24      Page 41 of 69 PageID:
                                             3057



                                DH Capital advises Agilis Systems on growth investment (2019,

                                NY).

                            ii. Agilis Systems, telematics and tracking solutions announced

                                significant investment from Spectrum Equity (Drew Reynolds).

                            iii. April, 2021, Agilis Systems changed its name to Linxup – GPS

                                solutions through software-as-a-service (SaaS). Address match to

                                the primary Agilis Falcon used by Runbeck for the sovereign

                                elections in the United States; Chesterfield, MO. Primary contacts

                                under Linxup: Naeem Bari and Paul Inman. MO address remains

                                domestic. Kent Kalkwarf was the registrant agent. March 11,

                                2013. Changed name to Linxup, registered in NV as foreign;

                                address: 321 W. Winnie Lane #104, Carson City, NV 89703.

                            iv. Board of Directors – Naeem Bari, President and CTO of Agilis and

                                the CPO of Linxup and VP of Cequel III. Cequel III ties back to

                                Kevin Kalkwarf at Gilead.

        49.     Plaintiff analyzed the End-to-End Verifiable Voting (“E2EVV”) technology

 associated with the critical infrastructure, allowing the voter to verify their ballot was properly

 recorded, presented by Mitre, the National Election Security Lab at the Center for Securing the

 Homeland, in partnership with Microsoft Democracy Forward team, Hart InterCivic, and

 EnhancedVoting.

                       i.   The technology was first offered in November, 2022, the pilot used by

                            Franklin County, Idaho.




                                                  41
Case 3:24-cv-00040-ZNQ-TJB      Document 73        Filed 05/20/24     Page 42 of 69 PageID:
                                      3058



                ii.    The Board of Trustees includes Rodney Earl Slater having an

                       appreciative political career which includes serving as the United

                       States Secretary of Transportation (1997 – 2001) an appointment by

                       Defendant, WILLIAM J. CLINTON; Administrator of Federal

                       Highway Administration (1993 – 1997) as well as a variety of

                       positions under the Defendant while in State government, including as

                       Assistant to the Governor, (1983 – 1987) and a member of the

                       Arkansas State Highway Commission between 1987 and 1993. He has

                       also served as a Board member for Verizon, of Trustee for United Way,

                       Board member for Northwest Airlines and Delta, following their

                       merger in 2009.

                iii.   Susan M. Gordon serves on the Board of Trustees, formerly serving as

                       Principal Deputy Director of National Intelligence (2017 – 2019),

                       appointed by Donald J. Trump, formerly as Deputy Director of the

                       National Geospatial-Intelligence Agency (2015 – 2017), appointed by

                       Defendant, BARACK HUSSEIN OBAMA. Prior to these positions,

                       Gordon was an analyst in the Office of Scientific and Weapons

                       Research, Directorate of Intelligence at the CIA, moving through

                       various capacities from 1980 until being appointed as Deputy Director

                       for Support at the CIA prior to assuming Deputy Directorship of the

                       NGA. She has served as a consultant to Microsoft among a variety of

                       Board positions.




                                            42
Case 3:24-cv-00040-ZNQ-TJB           Document 73         Filed 05/20/24      Page 43 of 69 PageID:
                                           3059



                     iv.   MITRE serves were engaged by Brad Raffensberger following the

                           2020 election to analyze the election results, Plaintiff has not read the

                           report at the time of this writing. Plaintiff asserts a clear bias and

                           disenfranchisement of Plaintiff’s sovereign Right, election interference

                           as well her Civil Rights, the MITRE organization consulted mirrors

                           the actions taken to ensure the specific consultant of choice in the

                           alleged cyberbreach, Crowdstrike, a consultant of choice with a

                           foregone conclusion, a self-fulfilling prophesy; these actions are

                           incongruent with investigative integrity in protection of the People’s

                           most sacred of Rights.

        50.     Plaintiff analyzed the background of Josh Benaloh, Senior Cryptographer with

 Microsoft. Benaloh developed the Risk Limit Audit as well as the current program running

 concurrent with the 2024 election, ElectionGuard. In 2016, Benaloh co-authored a paper

 entitled, “Keys Under Doormats: Mandating Insecurity by Requiring Government Access to all

 Data and Communications, (See: https://dspace.mit.edu/bitstream/handle/1721.1/97690/MIT-

 CSAIL-TR-2015-026.pdf.), excerpt below:

         The long running policy debate over encryption…actually began in the 1980’s with
 conflicts over whether computer companies such as IBM and Digital Equipment Corporation
 could export hardware and software with strong encryption, and over whether academics could
 publish cryptographic freely…The question came into full force during the 1990’s, when the
 United States government, largely through the use of export controls, sought to prevent
 companies such as Microsoft and Netscape from using strong cryptography in web browsers and
 other software that was at the heart of the growing Internet. The end of the wars – or the
 apparent end – came because of the Internet boom…the real security challenge is not the
 mathematics of cryposystems; it is engineering, specifically the design and implementation of
 complex software systems which include security features. Two large government efforts,
 healthcare.gov and the FBI Trilogy program, demonstrate the difficulties that scale and system
 integration pose in building large software systems…the president’s signature healthcare
 program failed badly in its initial days…a decade earlier, five years of effort spent building an



                                                 43
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24      Page 44 of 69 PageID:
                                            3060



 electronic case file systems for the FBI – an effort that cost US $170m was abandoned as
 unworkable.

                    i. Benaloh’s working theory holds that local law enforcement may lack the

                        analytical skills necessary to assess requirements necessary to know with

                        certainty of a cyberbreach. He offers questions for contemplation of his

                        theory as well as build-out of a prudent planning and design model for

                        potential adaptation; the complexity of cyberspace and cryptography does

                        not appear to be overcome through the aid of the queries. As his theory

                        cannot find resolve, he defers to the capitalist model; financial benefit

                        derived through the compensation of governmental contracts at taxpayer

                        expense.

        51.     Clint Watts – former FBI and lecturer. Mr. Watts presented at the 2020 NASS

 with a primary focus on the fabricated Russia interference claims. (See ECF Doc. 1; 45-22). Mr.

 Watts also serves on the Board of the German Marshall Fund, a 501c3 founded by Guido

 Goldman with an endowment from the former Chancellor of West German, Willy Brandt. The

 program manages Hamilton 2.0 Dashboard for the U.S. Climate Alliance (“USCA”); behind it’s

 shell entity, the group tracks private citizens who purchase electric cars, Governors from 22-

 States are members of the organization and receive data updates from the staff as USCA tracks

 purchasers of electric cars, garnered from vehicle registration data to track vehicle emissions;

 Plaintiff asserts clear violations of First Amendment Rights, tracking private information absent

 a warrant or consent with the data shared without restraint. Mr. Watts was an instrument for the

 FBI in the early phase of COVID-19, meeting with the NASS, the presentation transcript depicts

 a Operation Mockingbird 2.0 a psychological manipulation, exploring everything from Russia to

 Google algorithms to nuclear disaster. On May 16, 2023, Mr. Watts was appointed to


                                                  44
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 45 of 69 PageID:
                                            3061



 Microsoft’s Threat Analysis Center as General Manager, responding to cyber threats, evidencing

 the posture of Microsoft, most certainly not unbiased, nor of the Plaintiff’s sovereign interests’.

                                          INJURY STATEMENT

        52.      Plaintiff will suffer irreparable injury if this Court does not provide injunctive

 relief, voting rights “are threatened or impaired, irreparable injury is presumed.” Obama for

 Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012); see also League of Women Voters of N.C. v.

 North Carolina, 769 F.3d 224, 247 (4th Cir. 2014) (“Courts routinely deem restrictions on

 fundamental voting rights irreparable injury”); see also id. (“[O]nce the election occurs, there

 can be no do-over and no redress.”); Democratic Nat’l Comm. v. Republican Nat’l Comm., No.

 CV 81-03876, 2016 WL 6584915, at *17 (D.N.J. Nov. 5, 2016) (“[C]ourts have consistently

 found that a ‘person who is denied the right to vote suffers irreparable injury’” because

 “infringement on the right to vote ‘cannot be alleviated after the election.””)

 MICROSOFT – UNITED STATES ELECTIONS

        53.      Plaintiff states that on April 15, 2024, Microsoft contracted by way of “strategic

 investment” with G42, a wholly-government owned enterprise of and belonging to the United

 Arab Emirates (“UAE”), establishing a fund of $1.5 Billion to partner in an Intergovernmental

 Assurance Agreement, a collaboration bringing the latest Microsoft AI technologies and skilling

 initiatives to the UAE and other countries around the world. Through the collaboration, G42 will

 run its AI applications and services on Microsoft Azure, harnessing the power of Cloud and AI,

 empowering countries and markets to advance their digital agendas. Plaintiff states that her

 sovereign vote, protected as critical infrastructure, is cast, scanned and counted, on the Microsoft

 Azure system.

        54.      Plaintiff states:



                                                  45
Case 3:24-cv-00040-ZNQ-TJB                Document 73          Filed 05/20/24        Page 46 of 69 PageID:
                                                3062



                               i. In accordance with the DHS protocol under the National Protection

                                   and Programs Directorate, Defendant AJEXANDRO

                                   MAYORKAS would have been made aware that the primary

                                   contractor responsible for the United States elections had

                                   contracted to share space on the very same platform with a foreign

                                   nation-state.

                               ii. In September, 2023, Defendant, JOSEPH R. BIDEN issued an

                                   order telling Cfius to “pay close attention to deals involving critical

                                   technologies, including artificial intelligence, quantum computing

                                   and biotechnology. While the order did not name China, the

                                   industries are frequently mentioned by US intelligence agencies as

                                   ones where China is trying to obtain US technology.” 14

                              iii. On September 8, 2022, the FBI, Defendants in this matter,

                                   declassified an investigation, see EXHIBIT 3 reference 194B-DL-

                                   2591597 Serial 76. The investigation states that Crow Holdings

                                   purchased land in Frisco, Texas for a new business park (August

                                   31, 2021) in the company of Middle Eastern Investor. Also in

                                   August, Crow Holdings formed a partnership with Abu Shabi-

                                   based Mubadala Investment Co. to build almost $1 billion in

                                   industrial projects in the United States…Mubadala Investment is a

                                   sovereign investor managing a $243.4 billion global portfolio,

                                   wholly owned entity of the UAE, government enterprise.


 14
   Massoudi, Arash, Secastopulo, Demetri. US Security Officials Scrutinize Abu Dhabi’s $3bn Fortress takeover.
 July 25, 2023. Accessed April 10, 2024 https://www.ft.com/content/a8f3b524-ff45-4935-96da-cc-08bd32e138

                                                       46
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24      Page 47 of 69 PageID:
                                           3063



                           iv. On October 20, 2021, the DOJ, Defendants in this matter,

                               announced an unprecedented resolution of criminal charges against

                               three former U.S. military and intelligence members for conspiring

                               to conduct computer network exploitation operations (hacking) on

                               behalf of a foreign government, the UAE.

        55.     Plaintiff states that the federal departments and Branches, inclusive, each had

 individual areas of intelligence concerning the UAE, actions operating under various names, as

 to the foregoing actions; under the Patriot Act and the structured changes made within the

 intelligence community following the heinous events of September 11, 2001, this NATSEC

 intelligence would have gone through channels within DHS, DOJ, NSA, CIA, FBI and Executive

 Branch, at the very least. There was no action taken to impede the consummation of contractual

 relationship, no skidmarks within the crime scene, the brakes not applied, this, despite the

 constraints and Constitutional violations for which Plaintiff sacrificed under the auspices and

 premise of Homeland Security, the harms are beyond measure given her academic acumen and

 knowledge. The blatant disdain for God and Country by the inclusive Defendants is palatable.

        56.     Citing the historic record of longevity in and among the philanthropic and

 multinational corporations, Plaintiff analyzed the Microsoft Board of Directors (2012), the same

 time period in which William H. Gates, III remained as Chairman of the Board. The findings as

 follows:

                            i. William H. Gates, III – Microsoft Corporation,

                               Chairman/CEO/President and Chief Software Architect until 2014.

                               Transitioned to part-time in 2000 at MS and full-time at Bill and

                               Melinda Gates Foundation; stepping down as Chairman in



                                                 47
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24      Page 48 of 69 PageID:
                                           3064



                               February, 2014 and remaining technical advisor to support newly

                               appointed CEO Satya Nadella (Present CEO). Left Board of MS

                               and Berkshire Hathaway (2020).

                           ii. Steven A. Ballmer – Microsoft Corporation.

                           iii. Dina Dublon – JP Morgan Chase.

                           iv. Raymond V. Gilmartin – Merck & Co., Inc.

                           v. W. Reed Hastings – Netflix, Inc.

                           vi. Maria M. Klawe – Harvey Mudd College.

                          vii. Stephen J. Lusczo – Seagate Technology, PLC.

                         viii. David F. Marquardt – August Capital.

                           ix. Charles H. Noski – Bank of America Corporation.

                           x. Helmut G. W. Panke – BMW AG.

                           xi. John W. Thompson – Virtual Instruments.

        57.     Plaintiff holds to a strict code of conduct and ethics, a deeply committed Christian

 who has lived her entire adult life studying theology in conjunction with criminal justice, public

 policy and Middle Eastern studies, applying these beliefs in every facet and human interactive.

 Plaintiff has a comprehensive knowledge beyond mere contracts between Microsoft and the

 United States as well Microsoft and the UAE. Plaintiff states that the collective Defendants have

 subverted these United States, consistent with levying war and, that within the context of their

 assemblage is the disclosure to the Plaintiff of the unspoken, the war against Christianity. As

 Plaintiff extols her humanness as unalienable from her Rights, informed by her Creator, God, so

 too does she ascertain the levity of the inclusive Defendants’ schemes against her, schooled in the

 Bible, the Torah, the Koran and every dark book known to humanism.



                                                 48
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 49 of 69 PageID:
                                            3065



          58.   Plaintiff states that these treasonous acts of subversion, a wholly seditious

 trespass, are the driving force behind every precept, concept and contrivance of jurisprudence

 levied against Donald John Trump, reaching back as far as his announcement to run for the

 highest office of these United States with the Defendant, BARACK HUSSEIN OBAMA, wiring

 Donald John Trump’s offices. The vehemence of the Defendants’ collectiveness to repeat the

 blatant fabrication of claims, including contorting the law to meet the ends of the treasonable

 design formed in and among the Defendants’ coven assemblage affirms Donald John Trump too

 stand in the path as gatekeeper to ensure these pursuits are unsuccessful; a Created being,

 unalienable from his Rights.

          59.   These telling actions by the inclusive Defendants, unwarranted as unlawful,

 affirm the common moral and religious tenons which will serve in retention of this land, a

 dominion and gift entrusted by His hand to the sovereign, Created in the collective, as one to the

 other.

          60.   Plaintiff states that the base for law is not divided, and no one has the right to

 place anything, including king, state or church, above the content of God’s Law, the Founders

 understood the concept well; the authority of that which was scribed; the Constitution, founding

 documents and body of jurisprudence precedent, is rooted back to Him who is the final reality;

 neither church nor state are equal to, let alone above, that Law.

          61.   Plaintiff states that the inclusive Defendants’ actions are unconscionable,

 exceeding the terrorist acts for which the UAE is directly associated, made unconscionable as the

 parties to the deed, the inclusive Defendants, allege to be citizens and countrymen of these

 United States. The facts prove them as conspirators who have murdered senior citizens and the

 infirm; held hostage their citizens, in many cases without disclosing the charges associated with



                                                  49
Case 3:24-cv-00040-ZNQ-TJB               Document 73      Filed 05/20/24      Page 50 of 69 PageID:
                                               3066



 detainment, an unconstitutional continuum of harm; who empowers known terrorists while

 disavowing allies; who leaves its citizenry vulnerable to unvetted, unlawfully traversing persons

 of unknown origin at our border while knowingly subverting the protected election

 infrastructure, inviting foreign nations into our elections from every facet that a sovereign’s

 ballot might touch. The foregoing actions, evidenced as true and factual, affirm the levying of

 war, silent as it may be but no less.

           62.   Plaintiff states that the inclusive Defendants have given aid to a trespass on the

 most sacred of all tangible and coveted of assets belonging to her, the liberty of being free, an

 American living under the Constitution, holding to distinct concepts apart from those of other

 nation-states, for the Plaintiff these are foremost concepts of Civil Rights. Plaintiff states that her

 family has a long history, dating back to shared company with Abraham Lincoln and George

 Washington, toiling to ensure that these United States remain sovereign, standing resolute against

 tyranny from within as well in military uniform on foreign soil to ensure sovereign retention for

 others.

           63.   “When we saw the Russians attacking democracy and trying to influence

 elections around the work, not just the United States, we concluded this was a step we needed to

 take.” This statement was taken from the Microsoft training material provided to stakeholders

 including county, state and municipal parties working within the elections. The statement

 provides no indication that the claims of election interference were false, proven so through a

 vast number of investigative events, now a matter of federal record. Moreover, by retaining the

 statement in printed election training content, by a federal contractor having secured funds to

 ensure that the unalienable Rights of the voters are counted, the decision to retain the statement

 serves to undermine the election process, disenfranchising the subject candidate while severing



                                                   50
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24      Page 51 of 69 PageID:
                                            3067



 trust in and among those working in the election process. Plaintiff states that retention of the

 statement achieves one predetermined outcome, instilling fear fueled by the unknown, cyber

 related criminal activity, while simultaneously carving out an area within the election process,

 non-existent under the Constitution, therefore unlawful; a seat within local elections where

 federal entities are requested and only too happy to oblige.

                            i. Plaintiff reviewed the advisers, those who work within the

                                substructure advising Microsoft in the development of protocol

                                while sharing ethos, aiding in the development of policy and

                                protocol. These include VotingWorks, BPro/KNOWInk, TotalVote,

                                and Democracy Forward.

                            ii. VotingWorks. Plaintiff states that VotingWorks has no business

                                being involved in sovereign elections. Their bias and partisan

                                posture is blatant, making them unable to evaluate complex

                                challenges in the creation of election training benchmarks,

                                expressed through protocols while interfacing directly with

                                stakeholders including state, county, local and tribal election

                                workers.

                           iii. VotingWorks is a 501c3, mentored by the Center for Democracy

                                and Technology in 2018 as a start-up. The founders include Ben

                                Adida, a cryptologist trained at MIT, a member of the Creative

                                Commons, a Technology Advisory Board and of the Center for

                                Strategic and International Studies Authentication Workgroup.

                                According to the VotingWorks website, the business model is built



                                                  51
Case 3:24-cv-00040-ZNQ-TJB            Document 73         Filed 05/20/24      Page 52 of 69 PageID:
                                            3068



                                on balancing the interests of business and free software, while

                                strengthening privacy in the context of the war of terror. John

                                Lilly, former CEO of Creative Commons, is a venture capitalist

                                who formerly worked for Mozilla with a specialty in non-profit

                                operations and governance, especially around the creation of open-

                                source based movements and Code for America. Ryan Merkley

                                former Executive Director of Wikimedia Foundation, former CEO

                                of Creative Commons, an advocate for open licenses, net

                                neutrality, and open data initiatives in the public sector.

                           iv. Plaintiff states that VotingWorks has no working knowledge of

                                elections.

         68.    Plaintiff states that Defendant, WILLIAM J. CLINTON as well as Jeffrey Epstein

 shared a close association with MIT, including donor capacity and sourcing project funders,

 equity partners who fund academic pursuits while employing the projects as investment vehicles

 to build wealth portfolios at the expense of the Plaintiff’s Constitutional Right to her sovereign

 vote.

                            v. BPro/KNOWInk: BPro was founded in 1985 by Sandra Bowers,

                                selling to Brandon and Abbey Campea in 2009, in Washington

                                State. BPro merged with KNOWInk in 2020, their software at that

                                time was being utilized within fifteen (15) States. The company

                                has a historic record of direct campaign contributions to

                                candidates, financing expensive social outings with corporate

                                representatives, fiscal mismanagement including missing



                                                  52
Case 3:24-cv-00040-ZNQ-TJB    Document 73       Filed 05/20/24      Page 53 of 69 PageID:
                                    3069



                        electronic records, and misappropriation of funds. Similar to

                        Plaintiff analysis of printing companies, subject of the amended

                        complaint (See ECF 45), there is a history of contracts being

                        awarded absent competitive bidding as a standard of practice from

                        the time of their inception to the present day, a statutory and HAVA

                        regulated election guardrail which Governors and Election

                        Superintendents have avoided, knowingly. BPro contracts with

                        foreign software developers who, in turn, accept advertising to

                        defray costs while embedding the election software with rolling

                        advertising, viewable by the public when voting. The preexisting

                        contractual relationship between BPro and the advertiser will not

                        permit a change in the contract terms. BPro allows for

                        subcontractors who have been successful in protecting their

                        interest under the 10th Amendment, contracting directly with the

                        Elections Superintendent at the State level and bypassing County

                        officials where the 10th Amendment interest would not hold. Ex.

                        AVID Access Voter Information Database, Arizona and Sutherland

                        Government Solutions, a subsidiary of Sutherland Global Solutions

                        who partnered with AVID in AZ. Sutherland is a digital analytics

                        company applying algorithms for problem solving (AI, cognitive

                        technology, and automation).

                    vi. TotalVote. The company was formed in 2007, initially as an

                        election night reporting system called the Central Election



                                         53
Case 3:24-cv-00040-ZNQ-TJB    Document 73       Filed 05/20/24      Page 54 of 69 PageID:
                                    3070



                        Reporting Systems (CERS), it has evolved with the adaptation of

                        BPro add-on which TotalVote purchased with the use of public

                        funds. BPro retains autonomy while sharing an operational

                        relationship of KNOWInk, as above. TotalVote is the primary

                        contract and income stream for BPro, acting as a pass-through for

                        TotalVote by offering turnkey remote software access for

                        everything with the exception of a paper ballot scanner.

                    vii. Democracy Forward. The non-profit was formed by Marc Elias,

                        formerly of Perkins Coie, presently an attorney with Elias Law

                        Group who has a long history of representing the interest of the

                        Democratic Party. In 2023, it was reported that Elias was parting

                        ways with the DNC; however, by all appearances including his

                        direct involvement in the election process by way of Microsoft, he

                        has found a new venue for his bias. Mr. Elias is on the record in

                        December, 2022, “I don’t want to leave the Republican Party

                        unattended…I want to babysit them in every case they file.”

                        (Source: Politico December 21, 2022). Ron Klain, formerly

                        served as White House Chief of Staff for Defendant, JOSEPH R.

                        BIDEN. Javier Guzman, formerly served as Director of Global

                        Health Policy Program and Senior Policy Fellow, nominated by

                        Defendant, JOSEPH R. BIDEN as assistant attorney general of the

                        DOJ Civil Division, he formerly served as deputy associate

                        attorney general under Defendant, BARACK HUSSEIN OBAMA.



                                         54
Case 3:24-cv-00040-ZNQ-TJB              Document 73       Filed 05/20/24       Page 55 of 69 PageID:
                                              3071



                                Mindy Myers is a Democrat political strategist and paid consultant,

                                previously serving as Chief of Staff to Elizabeth Warren (D-

                                Mass.), and managed Senator Sheldon Whitehouse’s campaign in

                                2006.

                          viii. Plaintiff states, unequivocally, that the consultants to Microsoft

                                have a clear Constitutional conflict with the administration of

                                sovereign elections; the parties have no business being involved in

                                the election process but for those of their affiliated political

                                ideology. Plaintiff states that the preponderance of evidence, born

                                of the foregoing individuals’ own hands and history of work

                                product, proves an unsurmountable burden, disqualifying them

                                from any manner of election involvement.

        64.     Plaintiff states, unequivocally, that the inclusive Defendants, had full knowledge

 of the Microsoft build-out of known parties, biased and, as facts will disclose, compromised to

 foreign governments to which the inclusive Defendants aided and abetted in the multinational

 corporation’s inculcation into critical infrastructure of these United States so as to exact a

 predetermined outcome.

        65.     After analyzing the foregoing, Plaintiff evaluated the Board of Microsoft applying

 identical models of open-source data.

                   i.   John W. Stanton – Trilogy Partnership a private equity and Trilogy

                        International Partners, a wireless operator in New Zealand, and Central

                        and South America. Mr. Stanton was formerly the Chief Executive




                                                   55
Case 3:24-cv-00040-ZNQ-TJB      Document 73       Filed 05/20/24      Page 56 of 69 PageID:
                                      3072



                  Officer with VoiceStream Wireless, acquired by Deutsche Telekom,

                  subsequently renamed to T-Mobile USA.

               ii. CLEARWIRE: Serving simultaneously as Director of Clearwire

                  Corporation (2008-2013). Plaintiff states that Clearwire merged with

                  Sprint/Nextel (2008) which was isolated to Sprint (2012). Presently

                  serves on the Board of Directors of Costco Warehouse and First Avenue

                  Entertainment LLLP, owners of the Seattle Mariners and Nintendo (1992,

                  purchased from Hiroshi Yamauchi, former President, Japan); divested of

                  large portion of Seattle Mariners ownership, Mr. Stanton retained as

                  principal owner. Owns minority stake in ROOT Sports NW (2013) –

                  regional sports network throughout the Pacific Northwest.

              iii. TRILOGY PARTNERSHIP: Western Wireless (2005), merged with

                  Alltell (2005), sold off Comcel (Voila) Haiti, sold to Digicel (2012). In

                  2015, Trilogy Dominican Republic Operations changed name to Viva,

                  sold to Telemicro Group. Trilogy Equity Partners – Aven Foundation

                  Trilogy listed on the Toronto Stock Exchange, take-over of the company,

                  listing active until 2024 when SG Enterprises II took it private, included

                  was TIP Inc., a wireless service in New Zealand and Bolivia.

              iv. Trilogy International Partners’ wireless subsidiary in Haiti (Voila) works

                  with the International Federation of Red Cross and Red Crescent Societies

                  (AFRC). In 2010, the foregoing entities collaborated on the first

                  suspected cases of Cholera. On October 21, the Red Cross began sending

                  text messages via *733, approx. 500,000 text messages had been sent



                                           56
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24      Page 57 of 69 PageID:
                                           3073



                       since the epidemic outbreak was identified. The pilot program in Haiti

                       launched Voila and Trilogy International Partners to partner with the Red

                       Cross in deploying messaging application on wireless networks around the

                       world, including Pakistan, following weather-related crises events.

                   v. Trilogy’s Viola wins Gates Foundation, USAID Award for their work in

                       Haiti, conducting 100,000 qualifying financial transactions – sending,

                       receiving, or storing money on their mobile phones through the banking

                       partner, Unibank; Voila’s mobile money service, T-Cash. Voila partnered

                       with Mercy Corps to use T-Cash, Oxfam, World Vision, Help Age and

                       Catholic Relief Services.

                  vi. Defendant, HILLARY R. CLINTON, holds irrefutable attachment to the

                       pursuits of Trilogy, and the reverse is also true. In the company of TOMS

                       Shoes sharing a working relationship with Ambassador Vilma Martinez in

                       children’s shoe donation project (Argentina), Secretary of Commerce

                       Gary Locke and his wife, Mona Lee, ComCel (Voia) Haiti and

                       Ambassador Merten and Ambassador Joseph for the collaborative efforts

                       made in Haiti.

       66.     Plaintiff restates the claims as set forth in the amended complaint (See ECF 45)

 made treasonous in the blatant Constitutional conflicts as the Defendant eviscerated her oath

 and obligation in the practice of foreign statecraft to benefit herself at the expense of human

 beings while manifesting benefit to an autonomous non-profit entity through which she and her

 family might launder their sin. The audacity of entertaining such a venue at a building of these

 United States under pretense and mascaraed of philanthropy that the Defendant might be



                                                   57
Case 3:24-cv-00040-ZNQ-TJB          Document 73        Filed 05/20/24      Page 58 of 69 PageID:
                                          3074



 viewed than anything other than the unvarnished truth; evil, incarnate, opposes every Judeo-

 Christian concept of charity, a common thief of thought, mind and soul. No one is above the

 law Ms. Clinton.

                     i. Catherine MacGregor – Engie, SA (LaDefense, Courbevoie HQ)

                       electricity generation and distribution, natural gas, nuclear, renewable

                       energy and petroleum, with active upstream (engineering, purchasing,

                       operation and maintenance) and downstream (waste management,

                       dismantling) activities; operating in 27 Countries in Europe and 48

                       Countries worldwide. Merger of Gaz de France and Suez (2008).

                       Company history dates to King William I of the Netherlands, ‘Suez’ trace

                       history to the Suez Canal; Suez S.A. merger with Compagnie de Suez and

                       Lyonnaise des Eaux (1997). Gaz de France (1946) in the company of

                       sister company Elecricite de France (EDF) by the Frensch Government

                       after the liberation of Europe’s energy markets.

                    ii. August 10, 2010, merger of its GDF SUEZ Energy International business

                       unit with its operation in the U.K. and Turkey with International Power.

                    iii. December, 2010, GDF SUEZ became member of Medgrid Company

                       (consortium of twenty plus utility, grid operators, equipment makers,

                       financing institutions and investors – implemented the Medgrid Project –

                       French renewable energy initiatives framework for the Union of the

                       Mediterranean electricity network move to 5G, project partnered with

                       Germany (Desertec Project).




                                                58
Case 3:24-cv-00040-ZNQ-TJB     Document 73       Filed 05/20/24      Page 59 of 69 PageID:
                                     3075



              iv. April 25, 2015 – changed name to Engie Energy International. July, 2015,

                  Engie acquired 95% of Solairedirect. Engie acquired Keepmoat

                  Regeneration (2017). GDF Suez ranked among the 13 th best of 92 oil, gas,

                  and mining companies on indigenous rights and resource extraction in

                  Arctic (North of Arctic Circle). In April, 2019, Engie Announced the

                  acquisition of 905 of Transportadora Associada de Gas (TAG), Brazil,

                  Brazil’s largest natural gas transmission system owner.

               v. Penny Sue Pritzker – former Secretary of Commerce, appointed by

                  Defendant, BARACK HUSSEIN OBAMA (2013-2017). Founder PSP

                  Partners, PSP Capital partners. Pritzker Realty Group (Orlando, FL),

                  Artemis Real Estate Partners and Inspirated Capital. Board member –

                  Microsoft and Carnegie Endowment for International Peace, sibling of

                  J.B. Pritzker, Governor of Ill. Formerly involved in Chicago Board of

                  Education and Museum of Contemporary Art, Chicago. Appointed to

                  President’s Council of Advisors on Science and Technology (2021-2022);

                  U.S. Special Representative for Ukraine’s Economic Recovery,

                  appointments by Defendant, JOSEPH R. BIDEN. Served as Finance

                  Chair for Defendant, BARACK HUSSEIN OBAMA (political campaign

                  2008 – small donors). Served as President of UNITE HERE, labor union

                  (U.S./Canada – hotel, food, laundry, warehouse, casino industries); Board

                  member Council on Foreign Relations and President’s Council on Jobs

                  and Competitiveness – Economic Recovery Advisory Board, appointment

                  by Defendant, BARACK HUSSEIN OBAMA. Advisory Board member,



                                           59
Case 3:24-cv-00040-ZNQ-TJB     Document 73        Filed 05/20/24     Page 60 of 69 PageID:
                                     3076



                  Aspen Institute and Harvard (Roles: Board of Overseers (2002); Harvard

                  Corporation (2018) and University. Chair, Carnegie Endowment for

                  International Peace (2018); Illinois COVID-19 Response Fund (March,

                  2020) – contributed seed funds $23m and private contribution of $1.5m.

                  Bryan Traubert (sp. – ophthalmologist) – Joint private - Pritzker Traubert

                  Foundation. Cousin (Karen Pritzker – Grameen America). Family

                  interests: Marmon Group – Holding Co., held by Berkshire Hathaway

                  (sold 63.6% 2008) – through put company which manuf. Transportation

                  equipment – Tank Rail.

              vi. Jay Pritzker (Uncle) – conglomerate organizer. Acquired Ticketmaster

                  (1982) expanded and sold at 80%+ to Microsoft co-founder Paul Allen

                  (1993). Braniff Airlines (1983-1990) – Dallas and Orlando.

              vii. Hugh Johnston – Walt Disney Company, an organization known in the

                  public sphere for human trafficking and psychological

                  trauma/manipulation of child actors, grooming them for advancement.

                  The safe harbor of endearing costumes and bobbysocks with mouse-ear

                  hats has come to an end.

             viii. Mark Mason - Citi also unequivocally attached to Grameen.

              ix. Carlos Rodriguez - ADP, Inc., Company run by NJ Sen. Frank

                  Lautenberg who acquired Cyphernetics (commercial timeshare company)

                  in 1975 (MI), the company was run from a sales office centrally located in

                  major city hubs while providing concierge services, communication and

                  technical support to clients. Through a series of acquisitions, the company



                                             60
Case 3:24-cv-00040-ZNQ-TJB      Document 73       Filed 05/20/24      Page 61 of 69 PageID:
                                      3077



                  built a reputation in Europe, purchasing Autonom (Germany), GSI (Paris)

                  and Chessington computer Center (UK). The company consummated with

                  the BCCI model as it tethered to Richard J. Daley, former Mayor of

                  Chicago, CEO of Broadridge Financial Solutions, entering the securities

                  market and was in 2007, spun off. Thereafter, in 2017, ADP acquired the

                  Marcus Buckingham Company (UK) and Global Cash Card, a digital

                  payment facilitator. In 2018, ADP acquired WorkMarket, a software

                  platform to aid businesses in managing freelance, contractors and

                  consultants, followed by Celergo, a global payroll management service

                  company. In 2023, ADP acquired Honu HR, Inc. (Sora), an AI reading

                  facilitation app.

               x. Charles W. Scharf - Wells Fargo also unequivocally attached to

                  Grameen.

              xi. Satya Nadella – Nadella has forged a reputation for Microsoft with an

                  emphasis of working with companies and technologies, including

                  competitors Apple, Salesforce, IBM, and Dropbox– finding comfort with a

                  common goal, humanistic at its core, a collector of corporation bringing

                  them into the fold of multinational advancement at the expense of

                  sovereign identity and nation-state.

              xii. Emma Walmsley – British multinational pharmaceutical and

                  biotechnology company – CEO, GSK Consumer Healthcare (Haleon)

                  2022 launch; integrating existing product pipelines from Novartis and

                  Pfizer as a stand-alone enterprise, generating £10 billion.



                                            61
Case 3:24-cv-00040-ZNQ-TJB              Document 73        Filed 05/20/24      Page 62 of 69 PageID:
                                              3078



        65.       Plaintiff audited the 2012 MS Board records, citing the longevity of history to

 affiliated organizations as well the complex fraudulent actions of multinational, including BCCI,

 Marc Rich, etc., findings as below:

 CYBERSECURITY

        66.       The federal cybersecurity statute enacted, mirror policy dictums ratified following

 the tragic events of September 11, 2001, designed to engage federal, state and local authorities

 with a cross-pollination of training, reporting and parallel communication; in this case with

 provisional security clearances exacted to ensure protection of the subject critical infrastructure

 dialogue is fluid throughout the stakeholders at the federal, state, county and local venues.

 Designed by DHS as a best practice model in the interest of protecting the Right to sovereign

 self-determination, expressed vote, manifest in the seminal passage; “We hold these truths to be

 self-evident.”

        67.       Plaintiff states that DHS crafted policy, seemingly intent on protecting the

 sovereign Right to vote from interference built on the premise of the concocted cover story of

 Russian election interference that was alleged to have taken place in 2016, the policy was

 reinforced by Executive Memorandum of July 28, 2021, as set forth above. In the intervening

 period, the Defendants built back better scaffolding to effectuate the very claims that were

 promulgated upon the Plaintiff in 2016 as presented herein.

        68.       Plaintiff states that the analysis proves a direct correlation between the time that

 the Awan Brothers were given carte blanche access to House IT department, including but not

 limited to family members in Pakistan by thumb drive exchange, from at least 2006 – 2017,

 access granted by the inclusive Defendants to exact malfunction and dysfunction resulting in

 economic insecurity within these United States.


                                                    62
Case 3:24-cv-00040-ZNQ-TJB             Document 73        Filed 05/20/24       Page 63 of 69 PageID:
                                             3079



        69.     Plaintiff states that the elections within the United States are contracted, paid for

 with taxpayer funds of and belonging to the Plaintiff, collected in good faith of use to the benefit

 of the broader County, the United States, as needs are met domestically, aiding other nation-

 states, in the advancement of the common good of all. As the facts present, the findings

 indisputable, the inclusive Defendants have consummated their contract with Microsoft, among

 others, in knowing manner to facilitate a fraudulent act, intent to fracture the bedrock of these

 United States, shattering public trust altogether, impugning the Plaintiff’s unalienable Rights, a

 Right so sacred and coveted that others would flee their homes with nothing more than the

 clothes they wear, as Plaintiff’s grandparents did.

        70.     Plaintiff states, unequivocally, that the inclusive Defendants breached National

 Security on multiple occasions to carry out their scheme, aiding and abetting foreign persons,

 ensure that the foreign parties have unfettered access to the United States governmental

 electronic records, having absolutely no regard for Plaintiff’s Rights whatever, while enforcing

 every facet of control derived by statute, power and might to retain control until their toil has

 met its ends. The inclusive Defendants have subjected the Plaintiff to deprivation of her most

 foundational protected Rights, Liberty, itself; that very essence that a free people understand

 esoterically but few can define; it is the unbridled spirit to stand in defiance of fear that with

 God’s grace and providence, unblemished by the trespass, Liberty will live forward.

        71.     Plaintiff affirms that she has worked in and among every State in the Nation from

 2020 – 2023, the data is indisputable; every single State has over registration which spikes in

 advance of presidential elections, regardless of outsourcing registrant management or purging of

 voter registration record. The appearance of these spikes correlate directly with the same period

 in which the Awan Brothers were given permission to freely meander the NATSEC of this Nation



                                                   63
Case 3:24-cv-00040-ZNQ-TJB               Document 73          Filed 05/20/24        Page 64 of 69 PageID:
                                               3080



 by the DNC and the Democratic Caucus, inclusive. Plaintiff states that the abundance of

 registrants with birthdates that exceed eldest resident records is consistent in each and every

 State.

          72.     Plaintiff states that the Awan Brothers investigation was knowingly compromised,

 leveraging the DOJ, FBI, Capitol Police and Judiciary contorting the law to exact minimal

 punitive action to benefit the perpetrators of criminal behavior, not of misrepresenting facts on

 loan documents but of national security theft; espionage, with the consent and assistance of the

 inclusive Defendants.

          73.     To establish this Contract, citing the Critical Infrastructure Subsector, the imminent threat

 of foreign election interference would rightly have engaged the Election Infrastructure Subsection

 Specific Plan, (“Plan”) established in 2022, Plaintiff states that the engagement did not happen because

 the action by Microsoft was covertly forecasted, a link in a chain sequence of events. Rightly, in

 accordance with the Plan, the Defendant, ALEXANDRO MAYORKAS as the Secretary of Homeland

 Security would have been contacted, followed by Defendant, MERRICK GARLAND as Attorney

 General, thereafter the Government Coordinating Council (“GCC”), Cybersecurity and Infrastructure

 Security Agency (“CISA”) and, the Election Assistance Commission (“EAC”), and the National

 Secretaries of State (“NASS”), the National Association of State Election Directors (“NASED”); the Plan

 was not enacted, the risk assessment events did not happen and the danger remains unassessed at the time

 of this writing; they did not happen because the contract was known by the Defendants. As a

 consequence of the Defendants’ ineptness, Plaintiff’s faith in the Defendants’ non-existent, presently

 absolute in its destruction.


 ECONOMIC WARFARE

          74.     On December 22, 2022, the United States government awarded contracts for

 cybersecurity to multiple firms. To award these contracts, the contractors are required to go


                                                      64
Case 3:24-cv-00040-ZNQ-TJB           Document 73        Filed 05/20/24      Page 65 of 69 PageID:
                                           3081



 through a stringent application process with federal governmental departments reviewing same.

 the Plaintiff analyzed the individual companies receiving awards, as outlined below, a sample

 with the remainder detailed in harms section.

                   i.   Five Stones Research (5SRC). Described as a small business-based firm

                        in Alabama received a $266m contract to help the Missile Defense Agency

                        identify and mitigate cybersecurity risks in weapon systems, also tasked

                        with helping the Pentagon protect its networks securing cloud-based

                        information systems, evaluation proposed IT solutions, and identifying

                        vulnerabilities and threats. Five Stones Research is a foreign entity with

                        shell companies designed as pass throughs, exactly the same mapping as

                        BCCI.

                 ii.    General Dynamics Information Technology (GDIT). Announced a $267m

                        cyber contract with one-year base and a three-year option with the Army

                        National Guard. In addition to cybersecurity, the Guard Enterprise Cyber

                        Operations Support (GECOS) contract covers IT infrastructure,

                        application hosting, and associated services. General Dynamics is a

                        foreign enterprise, exactly the same mapping as BCCI.

                 iii.   Booz Allen Hamilton. Secured a $622m contract to provide a complete

                        range of cybersecurity and privacy enterprise solutions and services to

                        NASA. The Cybersecurity and Privacy Enterprise Solutions and Services

                        (CyPrESS) contract runs until September, 2023, with four option periods

                        running through September 2030. The company also won a $99m

                        cybersecurity contract for two U.S. Navy organizations. Booz Allen



                                                 65
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24      Page 66 of 69 PageID:
                                            3082



                        Hamilton has locations in Baton Rouge, LA; McLean, VA; Wilmington,

                        DE (Corp. filing); Juneau, AK; Indianapolis, IN; St. Louis, MO; Madison,

                        WI; Augusta, ME; Jeffersonville, VT; Bismarck, ND; Boise, ID – of these

                        addressed, Alaska and Louisiana are undisclosed with the remainder

                        Foreign enterprises.

        75.     Plaintiff draws from the well of dereliction, overflowing with evidentiary

 statements made by the inclusive Defendants; in the cases involving Apple iphone hacking and

 the NSO Group opined by Defendant, CHRISTOPHER WRAY. The Defendant went out of his

 way to ensure the statement was made regarding the FBI not conducting business with foreign

 enterprise when, in fact, that is precisely what has been transpiring.

        76.     Plaintiff states the unequivocal harm in the actions by the inclusive Defendants in

 their actions to remove her from holding office, her Oath viewed with honor and dignity, stolen

 from her and the community which she serves as well the many civic commitments which she

 endeavored. Running concurrent with the manufactured Russian interference investigations,

 William Browder continued his corrupt business practices under auspice of the Hermitage Fund

 in partnership with Republic National Bank which provided the initial seed money for Browder’s

 enterprise, the facts succinctly captured in the Court record (See ECF Doc. 43). Plaintiff states

 that after Browder has successfully laundered funds through Republican National Bank, a classic

 pump and dump, Defendant, GEORGE NORCROSS was in the process of purchasing the ailing

 institution; those negotiations were terminated following Plaintiff entering the pleading.

        A PRELIMINARY INJUNCTION WILL SERVE THE PUBLIC INTEREST.

        77.     Finally, a preliminary injunction will serve the public interest. “The public has an

 interest in ensuring federal laws are followed, particularly when those interests relate to voting



                                                  66
Case 3:24-cv-00040-ZNQ-TJB             Document 73        Filed 05/20/24      Page 67 of 69 PageID:
                                             3083



 rights.” League of Women Voters of Mo. V. Ashcroft, 336 F. Supp. 3d 998, 1006 (W.D. Mo. 2018).

 By contrast, “[t]he public has no interest in enforcing unconstitutional laws.” Firearms Policy

 Coal. Second Amend. Def. Comm. v. Harris, 192 F. Supp. 3d 1120, 1129 (E.D. Cal. 2016). The

 public interest in compliance with the Constitution regarding these fundamental Rights, scribed

 by our Founders and held in the hearts of those who hold allegiance to this fine Nation weighs

 strongly in favor of preliminary relief here.

        78.     Plaintiff states that the inclusive Defendants have consummated a contract with

 Plaintiff’s taxpayer funds, attaching her sovereign voice to a knowingly compromised voting

 structure which they will precertify with full knowledge of the magnitude of their action; they

 are fully prepared to do so. Plaintiff is not and will not; the facts fully inform of the inclusive

 Defendants’ actions, an overt violation of the utmost Law, that of the promise made to our

 forefathers and to those coming up.

        79.     Plaintiff states, unequivocally, that the election cannot be conducted by machine

 scanning or counting with every link in the sequence compromised to foreign entities, merely

 holding to United States mailing addresses, the foreign affiliates remaining undisclosed. Unlike

 the unfounded claims presented by the body of Defendants throughout recent history, “utterly

 lacking in support” (See Galin v. Hamada, 283 F. Supp. 3d 189 at 203 (citation omitted),

 Plaintiff is fully confident that discovery will be fruitful as in Galin, which yielded “myriad

 evidence.” The inclusive Defendants, , have declared a silent war against the Nation of the

 United States, employing an undercurrent of trickery and deceit exceeding the thresholds of

 consciousness, wholly unacceptable, unlawful and causational of acute, particularized injury of

 the most sacred Rights, her right to sovereign vote and unimpeded choice of candidate.




                                                   67
Case 3:24-cv-00040-ZNQ-TJB            Document 73        Filed 05/20/24       Page 68 of 69 PageID:
                                            3084



        80.     Plaintiff states that the inclusive Defendants, have violated the critical

 infrastructure of the United States as set forth in the National Security Memorandum on

 Improving Cybersecurity for Critical Infrastructure Control Systems, dated July 28, 2021, and

 insodoing, have knowingly infringed on the Civil Rights of the Plaintiff in her pursuit of Life,

 Liberty and Property.

        81.     Plaintiff trained individuals across these United States regarding the Center for

 Tech and Civic Life (“CTCL”), the methodology applied regarding the aging election

 infrastructure coming to full technicolor as Plaintiff’s autonomous research is cross-pollinated

 with names, events, and timelines. Plaintiff reiterates the claims of harm in the loss of her

 sibling, the Governors and their peers sacrificed the innocent to meet their Plan, feigning their

 care for humanity through oration while in the darkness of their depravity, their hands placed a

 pillow over their citizens faces, ensuring their demise – voice, vote, and body; their souls spared

 by God, Almighty.

        82.     Plaintiff states that the events which took place leading up to and following the

 2016 and 2020 elections caused by the inclusive Defendants and in the company of broadcast

 media, combined to permeated public trust, shattering it with malice forethought.

        83.     Plaintiff states that the comprehensive picture of the injury does not come into focus

 until and unless the truth is made known and put to action.

        84.     Affidavits of: Margret Carton; Wanda Opdyke; Donna Coons; Altaira D. Howanice

 are also attached in support of this application before the Court.




                                                  68
Case 3:24-cv-00040-ZNQ-TJB             Document 73         Filed 05/20/24       Page 69 of 69 PageID:
                                             3085



                                            CONCLUSION

         Plaintiff respectfully requests this Honorable Court grant its motion for preliminary

 injunction.


                                  CERTIFICATION OF SERVICE

       I HEREBY CERTIFY that I filed today, Monday, May 20, 2024, the foregoing with the

 Federal Clerk of the Court for the United Stated District Court, District of New Jersey, via

 electronic filing, which will send notification of such filing to all parties registered for this case,

 including the Defendant’s counsel via the electronic filing system.



                                                         /s/ Mary B. Logan
                                                         Mary Basile Logan
                                                         Pro-Se Plaintiff




 cc: All Counsel of Record (Via ECF)




                                                    69
